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                IN THE UNITED STATES DISTRICT COURT


                        FOR THE DISTRICT OF UTAH


                             CENTRAL DIVISION



  In re:                                )
                                        )
  UNITED STATES OF AMERICA,             )
                                        )
               Plaintiff,               )
                                        )
  v.                                    )Case No. 2:17-CR-208CW
                                        )
  TERRY CHARLES DIEHL,                  )
                                        )
               Defendant.               )




            Transcript of Hearing on Motions in Limine




                BEFORE THE HONORABLE CLARK WADDOUPS


                             October 26, 2017




                       Karen Murakami, CSR, RPR
                         8.430 U.S. Courthouse
                         351 South West Temple
                      Salt Lake City, Utah 84101
                       Telephone: 801-328-4800



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 1        Salt Lake City, Utah, Thursday, are October 26, 2017

 2                                     *   *   *

 3                     THE COURT:     Good morning.       We are here in

 4     the matter of the United States v. Terry Charles Diehl,

 5     case 2:17-cr-208.        Will counsel please state their

 6     appearance.

 7                     MR. HIRATA:      Mark Hirata and Cy Castle, Your

 8     Honor, on behalf of the United States.

 9                     THE COURT:     Thank you.

10                     MR. WASHBURN:       Loren Washburn and Stephen

11     Peters for Terry Diehl, who is in the courtroom as well.

12                     THE COURT:     Thank you.

13                     We're here on several -- maybe collectively

14     just really one motion, but we have several different

15     motions.     They are your motions, Mr. Washburn.               I'll let

16     you pick the order you want to argue them in and you may

17     proceed.

18                     MR. WASHBURN:       First of all, Your Honor, I

19     note having had the Third Superseding Indictment

20     returned and had the initial appearance on it today, the

21     motion to strike surplusage we'll formally withdraw

22     that, we mentioned that on Tuesday, but that's not now

23     an issue.

24                     THE COURT:     We'll indicate on the docket

25     that that's been withdrawn.



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 1                     MR. WASHBURN:      I think then, Your Honor, we

 2     have just two motions, and I plan -- I think there --

 3     you're probably right in saying there's some overlap in

 4     them, but I plan to take up what we've styled as the

 5     motion to exclude bad acts not charged in the Second

 6     Superseding Indictment, which I guess now would be the

 7     Third Superseding Indictment.           But the motion wouldn't

 8     change because of the changes in the Indictment.                And

 9     then Mr. Peters is planning to take up specifically the

10     issues raised in our motion to enforce the prior order

11     in limine.

12                     Your Honor, in our motion, our motion was

13     prompted -- and I apologize for the short timeline.                   As

14     it turns out, we had our hearing on the 12th, I left for

15     Ireland on the 13th and got back the 21st.               So when I

16     got back we had a brand new Indictment, and so I rushed

17     to get this motion put together and between Saturday

18     night at 10:00 when my flight landed and Monday, as soon

19     as I could.      The point of the motion in limine is when

20     we talked about this last about our motion to exclude

21     other acts, and specifically with the other acts here

22     now we're talking about two categories, that's the

23     American Express expenditures and personal expenditures

24     out of the SVA accounts.          When we talked about it last

25     we had a very different Indictment.             I know the



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 1     government in their response yesterday said it's not a

 2     very different Indictment, but I think that's because

 3     they're actually not looking at what's charged in the

 4     Indictment.      They talk about having the same theory, but

 5     having the same theory isn't the same as having the same

 6     charges.     And it's the charges and the elements that

 7     something has to be relevant to in order to have an

 8     other act admitted.

 9                     I want to note a couple of things before I

10     really get into it in earnest.            The first thing, Your

11     Honor, is that throughout their argument, and I

12     mentioned this on the 12th when we had argument, the

13     government doesn't seem to take account of the fact that

14     this was a Chapter 11 bankruptcy.             And that matters and

15     it matters in a very important way, and that's this:

16     Skyline Ventures Associates was never hidden.

17     Starting -- and I apologize, I've got a fair number of

18     exhibits here that I'll pass up as we go along.                 These

19     are Government's Exhibit 2-12 and 2-14.              These are just

20     examples of monthly operating reports, Your Honor.                 2-12

21     was the one filed for April of 2012, so this was filed

22     just a couple of weeks after the Statement of Financial

23     Affairs.     And what you'll see there is a source of

24     income.     When you look at the income, I think it's on

25     the third page, it lists Skyline Ventures Associates,



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 1     consulting fees of $10,000, and then has a refund of

 2     overdraft fee from Chase of $34.            And what you will see

 3     if you look through all of the monthly operating

 4     reports, which are in the Government's Exhibit series,

 5     is that over the period of the bankruptcy SVA is listed

 6     as a source of 96 percent of Mr. Diehl's reported

 7     income.

 8                     Now, in a Chapter 11 what you have is a

 9     debtor who comes and says, look, I can't pay all my

10     debts.     I want to reorganize, I want to have a plan to

11     pay you back.       And in forming a plan to pay them back

12     they have to articulate where their money is going to

13     come from to make that plan.           Mr. Diehl reported SVA

14     from the very beginning as a source of his income.

15     We'll look a little bit later at his 2004 exam where he

16     says it's his only employer and that the deals that he's

17     planning to put together as part of his plan of

18     reorganization will be held in Skyline.              So there was

19     never -- the fact of this as a Chapter 11 matter,

20     because not only did he not exclude it, it would have

21     been counterproductive for him to hide it.

22                     The other thing I want to bring to the

23     court's attention is the government in their opposition

24     I think mis-describes their Indictment.              The now Third

25     Superseding Indictment contains one count that we're



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 1     worried about here.        These other acts, as far as I

 2     understand it, don't go at all to Count 2 in the Third

 3     Superseding Indictment, they only go to Count 1.                And

 4     specifically Count 1 has two prongs to it.               It's a false

 5     statement in bankruptcy.          This is -- you know, when I

 6     was at the Tax Division, we called false return counts,

 7     like Count 2, tax perjury.          And that's essentially what

 8     this is, this is bankruptcy perjury, if you will.                It's

 9     coming in and making a specific false statement.                And

10     this count alleges two of those.            One of them relates to

11     a million dollars.        And I think Mr. Hirata said on

12     Tuesday that this motion doesn't go to that million

13     dollars, and I would tend to agree with him.                If I'm

14     mischaracterizing him, I apologize.

15                     But really I think what the government is

16     intending to do from what I gather from their opposition

17     is to introduce these other acts that are contested

18     right now to go to what I'll call the second prong in

19     Count 1, and that is the Indictment alleges that

20     Mr. Diehl omitted SVA.         There's a specific question on

21     the Statement of Financial Affairs, and the Indictment

22     alleges that SVA ought to have been reported and was

23     not.    That's it.     The government talks about subterfuge

24     and setting up SVA as a subterfuge to funnel money and

25     pay personal expenses and that that's their theory.



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 1     That's not the crime he's charged with.              He's charged

 2     with coming in and making two specific false statements.

 3     And the one that's at issue here is that one specific

 4     statement with regard to Count 18.

 5                     Why does that matter, Your Honor?               It

 6     matters for a couple of reasons.            One of them being

 7     we're going to look at the elements because in order for

 8     404(b) evidence to be relevant it has to be relevant to

 9     one of those elements.         But first I think it's important

10     to understand what the stakes are here.              And for that

11     I'll show you Exhibit 2.          I've got a tab on the

12     important part here both for you and for the government.

13     I'll pass one up to your clerk as well.              I apologize

14     that I didn't do that on the last one.              So I just passed

15     up two documents.        The larger one, Exhibit 2, is a

16     document called the Operating Guidelines and Reporting

17     Requirements of the United States Trustee.               And this was

18     provided to Mr. Diehl, I believe that's what the

19     testimony will show.         And if you go to page 12 where

20     it's tabbed it talks about reports on entities in which

21     debtor holds an interest.          Okay.    And what that says is

22     that pursuant to Federal Rule of Bankruptcy 2015.3, and

23     that's the smaller document I've handed up is that rule,

24     the debtor must file periodic reports of the value,

25     operations, and profitability of each entity in which



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 1     they hold a substantial or controlling interest.                   And it

 2     says the first one needs to be filed within seven days

 3     of the 341 and then they need to be filed every six

 4     months thereafter.

 5                     Here's what's important there, Your Honor.

 6     If Mr. Diehl had listed SVA on the SOFA as something

 7     that he owned -- and let's assume for present purposes,

 8     for purposes of this argument, we'll assume that the

 9     government will be able to show that it should have been

10     listed.     I'm not conceding that for purposes of the

11     trial, I'm just saying for today's argument.                What

12     difference would it have made?            Well, he wouldn't have

13     been required, and this is the specific point, he would

14     not have been required under the law that I've just

15     passed up here to report transaction-level detail.                   All

16     that would have been required is every six months there

17     be a report that listed the profitability -- the value,

18     operation, and profitability of the entity.                That's it.

19     That's the difference, Your Honor.

20                     Now, given, as I've shown, that SVA was

21     in -- not just disclosed in the bankruptcy, disclosed in

22     a way that any creditor in the Chapter 11 was going to

23     see it as here's the source of income.              And given that

24     the only difference would have been periodic reports,

25     the question becomes, well, what -- you know, we're



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 1      attempting to show that these -- what was his intent to

 2      defraud in failing to list SVA?           And I think it's

 3      important to understand the consequences of listing SVA

 4      in order to evaluate whether something's relevant to his

 5      intent to not list it, and specifically where listing it

 6      would not have required him to disclose

 7      transaction-level details, such as these expenditures.

 8      There's not a strong incentive not to list it on there

 9      and trigger that reporting requirement because the

10      reporting requirement that would have been triggered

11      would not have required transaction-level reporting.            I

12      apologize, Your Honor, I'm going to grab a bottle of

13      water here.

14                     I want to now take a look at the Superseding

15      Indictment that we were looking at last time versus this

16      Second Superseding Indictment because last time we were

17      here Mr. Hirata, and this is the only one I remember,

18      but showed us and gave us each a copy of this big chart,

19      and the argument as I recall it, and I may be

20      misremembering it, and if I am I'm sure you'll hold it

21      against me, but the argument as I recall it was we need

22      to introduce these individual expenditures because what

23      we have charged in our Indictment, and this is true of

24      the Superseding Indictment, we've charged all of these

25      times of concealment, that there was money that was



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 1      concealed, that there was money that came in that should

 2      have been reported on monthly operating reports but

 3      wasn't.    And what we want to show you, Your Honor, is

 4      that these individualized expenditures that weren't for

 5      the operation of SVA they go to show that when he

 6      concealed this income, he had motive to do it, and that

 7      motive was he was going to use it on something that the

 8      bankruptcy creditors wouldn't have been happy about, and

 9      so that's why he concealed it.           As I understand it, that

10      was basically their argument for why the evidence of

11      these personal expenditures ought to come in.

12                     And in the context of the Indictment where

13      they had actually charged counts of concealment and

14      counts of failing to report financial transactions

15      that's an entirely different analysis than this

16      Indictment, because in this Indictment we don't have a

17      single count of concealment or a single count of failure

18      to disclose a financial transaction taking place during

19      the bankruptcy.       And what I tell you, Your Honor, is

20      Count 1, that first prong with the million dollars, is

21      qualitatively different than that.            That was about

22      reporting his annual income.           That money was spent

23      before the bankruptcy was ever declared.              That's not

24      about concealment in order to hide an asset or something

25      like that.     It's qualitatively different than the



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 1      concealment and false items that in the Superseding

 2      Indictment comprise Counts 2 through 12.              And because we

 3      don't have that, this analysis is different.               This isn't

 4      a motion to reconsider the prior motion.              This is we

 5      have a different Indictment, and where we have a

 6      different Indictment we have a different 404(b)

 7      analysis, and the reason we have a different 404(b)

 8      analysis is because what's intrinsic is different if

 9      what's charged is more narrow.           Something that might be

10      intrinsic to a concealment count is not necessarily

11      intrinsic to a false statement where you left SVA off of

12      the SOFA, okay?

13                     The government's first argument in their

14      opposition to our motion, and really it seemed a more

15      robust argument, was that this was intrinsic.                   But, Your

16      Honor, where -- the evidence, the elements that they

17      have to prove in order to prove Count 1 as to SVA are

18      pretty simple.      And what we'll see is at no point is

19      later expenditures inextricably intertwined with that.

20      First they have to prove there was a bankruptcy

21      proceeding; second, that he made a statement, that is,

22      he listed here his failure to disclose in response to

23      question 18 in the Statement of Financial Affairs

24      Skyline Ventures Associates.           I'm looking right now,

25      Your Honor, at what is in their opposition in a footnote



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 1      on page 2, listing of the elements.             I believe that

 2      comes off of a proposed jury instruction.

 3                     The third element is that the declaration

 4      contains some material fact.           And SVA, as an entity

 5      that -- they make some argument that, hey, leaving SVA

 6      off as an entity was a material fact.             But those

 7      personal expenditures don't demonstrate that, Your

 8      Honor.    The personal expenditures aren't necessary to

 9      demonstrate that, they're not intertwined with that.             If

10      this is an entity that owned and operated, they can

11      demonstrate that, and, Your Honor, they can demonstrate

12      it through the monthly operating reports that were filed

13      where Skyline Ventures is listed.            There's no need, nor

14      is it inextricably intertwined, to say, hey, in order to

15      prove that SVA was material we have to show these later

16      personal expenditures.

17                     Fourth, the declaration was false in whole

18      or in part.      They won't be proving -- the personal

19      expenditures won't go to prove that it was false in

20      whole or in part.       The defendant made the declaration

21      knowingly, and the defendant made the declaration

22      fraudulently.      Those are the elements.

23                     And the declaration we're talking about

24      here, Your Honor, the fraudulent intent is they have to

25      demonstrate that Mr. Diehl intended to defraud by



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 1      failing to list SVA, not this uncharged theory of he

 2      intended to defraud by having SVA be a subterfuge.

 3      That's not the intent to defraud that we're examining

 4      when we're examining whether these expenses are proper

 5      under 404(b).      The intent to defraud is the intent that

 6      they need to prove for the charges they've actually

 7      brought, and the charges they've actually brought are an

 8      intent to defraud by failing to disclose SVA.

 9                     In their opposition they also, aside from

10      arguing it's intrinsic, they also sort of do a laundry

11      list of 404(b) purposes.         If you look at their 404(b)

12      motion they say, hey, these personal expenditures were

13      relevant for planning, to show planning.              Again, the

14      planning they would have to show is a planning to fail

15      to list SVA on the SOFA.         So now how does expenditures

16      from SVA, how do later personal expenditures from SVA

17      show planning to fail to list the SOFA -- or to fail to

18      list SVA on the SOFA.        SOFA being Statement of Financial

19      Affairs, I apologize if that acronym is ...

20                     Preparation, same thing, Your Honor, later

21      expenditures don't show preparation to fail to list SVA

22      on the SOFA.

23                     Knowledge, later expenditures don't show

24      knowledge that SVA wasn't listed on the SOFA.                   In fact,

25      we'll come back to that, and what you'll see is, if



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 1      anything, those expenditures show -- the expenditures go

 2      the opposite direction in terms of relevance.

 3                     Intent, and the government -- I think this

 4      is important, Your Honor, because if you look at the

 5      intent that they have identified in their opposition,

 6      and this is on page 11, the last page of their

 7      opposition.      They say, Indeed, such acts operate to

 8      prove multiple proper purposes under Rule 404(b),

 9      including -- and this is where we get the laundry

10      list -- defendant's planning, preparation, knowledge,

11      and intent to conceal assets to defendant's benefit and

12      to the detriment of creditors and the integrity of the

13      bankruptcy system.        That's the intent that they're

14      arguing in their motion they will demonstrate with these

15      other expenditures.        And that intent, Your Honor, when

16      they had a case that included concealment, that intent

17      might have been an intent -- you ruled it was an intent

18      that was proper, but that intent has nothing to do with

19      the intent to fail to list SVA.           Saying, hey, they --

20      this will show intent to conceal assets.              Concealing

21      assets is itself uncharged.          So what they would be

22      saying is this is -- this shows intent to commit yet

23      another uncharged crime because that's not charged here.

24      It's two layers of intent away.           And they haven't cited

25      any case to suggest that they can introduce 404(b)



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 1      evidence to prove intent to commit another uncharged

 2      crime to some end that's not articulated in this motion.

 3      So the intent that they have identified, the intent to

 4      defraud they've identified in their motion under 404(b)

 5      is not the intent that they're required to prove, and

 6      it's not a proper purpose under 404(b).

 7                     I want to take up the intent to defraud a

 8      little bit, Your Honor, if I may.            I know I've been

 9      going for a while, we promised you we would take under

10      two hours, and I'm still confident we'll do that very

11      easily.

12                     THE COURT:      We have all day if you need it.

13                     MR. WASHBURN:       Don't say that, Your Honor,

14      that's dangerous.

15                     THE COURT:      Well, it's important that we get

16      these issues resolved and that you know going forward,

17      so take whatever time you need to make sure you fully

18      address the issues.

19                     MR. WASHBURN:       Yes, Your Honor.

20                     Your Honor, this document is Defense

21      Exhibit 146, and what this is -- in the bankruptcy

22      proceeding this document was filed, as you can see, in

23      late September.       An Unsecured Creditors Committee was

24      formed, and that Unsecured Creditors Committee sent this

25      to Mr. Diehl's attorney and it became a stipulated



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 1      motion of Mr. Diehl and the Unsecured Creditors

 2      Committee in September.         And what -- the importance of

 3      this stipulation, Your Honor, is it says -- they

 4      stipulate to the entry of an order permitting the

 5      Committee's examination of the following entities.              And

 6      if you look at this, these are a bunch of entities that

 7      show up on the SOFA in response to question 18 and other

 8      related entities, and you'll see, because I've

 9      highlighted it for you hopefully -- to help hopefully,

10      Skyline Ventures Associates.           So as of September 27th,

11      Skyline Ventures Associates is listed here as what they

12      call -- let me look at Exhibit A -- a closely-held

13      entity.    And the definition of a closely-held entity

14      here on Exhibit A, which I think is around page 5, let's

15      see here, Your Honor, closely-held entity is an entity,

16      I believe, in which he has an interest, or with which

17      he's had a business relationship.

18                     And the important part here though, Your

19      Honor, is on page 6 under documents to be produced.              And

20      what you see is that Mr. Diehl stipulated, along with

21      the Unsecured Creditors Committee, to an order requiring

22      him to produce virtually every financial record that you

23      could request from SVA.         I've highlighted items 1, 2, 7,

24      and 10 -- well, as you go through this you see he's

25      agreeing to provide all statements, all cancelled



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 1      checks, all check registers for any of the closely-held

 2      entities -- for any bank accounts in which the debtor or

 3      closely-held entities have had any interest or any

 4      signatory authority.        So he's agreeing, and he

 5      stipulates, Your Honor, that SVA is one of those

 6      closely-held entities.         It's on that first page.

 7                     And if you go to page 5, paragraph 2 it says

 8      the closely-held entities means all entities in which

 9      debtor has had an equity interest from any time six

10      years preceding the petition to the present, including

11      the following, and Skyline Ventures Associates is listed

12      there.     So as of September 27th of 2012 Mr. Diehl has

13      stipulated that Skyline Ventures Associates is an entity

14      that he controls and that he'll turn over all those bank

15      records.

16                     Next, Your Honor, I would like to pass up

17      Exhibit 152.      So Exhibit 152 here, Your Honor, this is a

18      string of e-mails, and I'll represent to you that it

19      starts off, I believe, if you go to page 3 and 4, Engels

20      Tajada, who's a lawyer is now at Holland & Hart, at that

21      point he was at Snell & Wilmer, and he was one of the

22      two lawyers who represented the Unsecured Creditors

23      Committee.     And Jimmy Anderson was a lawyer -- who is a

24      lawyer who now works at Clyde, Snow & Sessions, but at

25      that time was at the firm of Miller Guymon, which no



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 1      longer exists.      He worked alongside Blake Miller in this

 2      case.    What you'll see is that this e-mail chain starts

 3      with Mr. Tajada sending a copy of a protective order and

 4      that document we just looked at, the 2004 order, the one

 5      where SVA is listed as an entity which they'll provide.

 6                     And the first thing I've highlighted is on

 7      page 3 of this, first in time, not first in the paper of

 8      this the way these e-mails get printed out, you'll see

 9      that Mr. Anderson here on September 26th, so the day

10      before that was actually filed, starts arranging for

11      production of those categories of documents, and I've

12      highlighted it.       He talks about, we're able to produce

13      by this Friday responsive items to ... and then he lists

14      7, 10, 12, 13 and 15.        Those are those paragraphs in

15      that 2004 order that dealt with specific things.                7 I

16      think is the financial statements.            So he's saying,

17      look, we can produce the financial statements by this

18      date, and then produce by October 12th documents

19      responsive to items 1 and 2.           And, importantly, items 1

20      and 2 were those bank statements and records.

21                     And then as you go forward a bit, Your

22      Honor, I bring you to the first page because there's

23      some back and forth.        And then on October 2nd

24      Mr. Anderson -- there's back and forth about this

25      production as they're attempting to get documents in



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 1      place to produce to the Unsecured Creditors Committee.

 2      By the way, these are items for all those entities

 3      listed on that order in the 2004 order which includes

 4      Skyline Ventures Associates.

 5                     And this last paragraph on page 1 asks for

 6      the bank statements.        We have numerous binders of bank

 7      statements for the various entities.             And the job is

 8      just too big for the debtor and his assistant.                  We could

 9      have a copy service come and do it if you want at the

10      expense of the Committee.          Do you have a preferred copy

11      company you would like us to work with.              So here's

12      Mr. Diehl -- Mr. Diehl's attorney -- and at this point,

13      Your Honor, if we're -- I think everybody here knows the

14      way these things work.         Mr. Diehl has attorneys who are

15      representing him and they manage the production and they

16      work with him to get these documents.             And here what you

17      have is the attorney saying, look, we have so many

18      binders with so many bank statements, if you want to

19      send a copy company out, tell us who it is and we'll

20      work with them.

21                     And Mr. Tajada responds back and says let me

22      look into the company.         So at this point what Mr. Diehl

23      knows is that he has stipulated to an order requiring

24      him to disclose SVA and that his attorney is working

25      with them, and we know his attorney is working with them



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 1      because some later e-mail chains that I'm not going to

 2      go into today show that when they say they have these

 3      binders, they're all at Mr. Diehl's home office, and

 4      he's just saying, hey, send a copy company up to my home

 5      office.    So Mr. Diehl's working with his attorney and

 6      saying here they all are, it's a big job, we can't do

 7      this much copying, is there somebody -- could we send

 8      somebody up to come copy them.           That's on October 2nd.

 9                     So if we can just stop right there for just

10      a moment, Your Honor, the government -- again, the

11      intent to defraud we're talking about has to be that

12      Mr. Diehl intended to defraud by failing to list SVA on

13      that Statement of Financial Affairs.             But what we see

14      here is by late September Mr. Diehl is disclosing SVA

15      and agreeing to give records.           We looked at 2015.3, Your

16      Honor, that bankruptcy rule, you'll recall that it

17      required that all he needed to disclose was every six

18      months a periodic report that would have listed the

19      profitability, the operations, and something else.              I

20      forget, Your Honor, I apologize.            Here he's agreeing to

21      produce way more than that and he's actively involved in

22      working with his attorney to produce way more than that.

23                     And so then you ask yourself, well, wait a

24      second, if that's the case, what do personal

25      expenditures show about Mr. Diehl's intent to defraud?



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 1      You'll recall here, Your Honor, in this chart that the

 2      government has these personal expenditures and they

 3      show -- and they, I assume, are attempting to introduce

 4      personal expenditures throughout the whole time period

 5      to show, hey, Mr. Diehl intended to defraud, not a

 6      general intent to defraud by using SVA as a subterfuge,

 7      as they claim in their opposition, but the intent to

 8      defraud again tacks back to what's actually charged in

 9      the Indictment, which is, the intent to defraud by

10      failing to list SVA on the SOFA.

11                     If you compare what situation would the

12      creditors have been in, what would have been different

13      on October 2nd when Mr. Anderson was sending this

14      e-mail, what would have been different?              Well, at most,

15      under the law, they would have gotten one of these

16      periodic reports of SVA.         And other than that, Your

17      Honor, the answer is basically nothing.              The

18      creditors -- so if you're sitting there on October 3rd,

19      there is no difference between the amount of information

20      a creditor had on October 3rd in a world in which

21      hypothetically Mr. Diehl puts SVA on that SOFA versus

22      the actual historical world of what happened, no

23      difference whatsoever.

24                     What's important to note here, Your Honor,

25      what the evidence will end up showing is on that 2004



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 1      order all of those entities that had listed SVA on, the

 2      unsecured creditors hadn't received records for any of

 3      them up to that point.         So these productions that

 4      Mr. Anderson is talking about in this e-mail with

 5      Mr. Tajada, that's the first time that there was any

 6      production to the unsecured creditors.             So it's not even

 7      as if they would have gotten -- if you compare SVG which

 8      was listed on the SOFA to SVG (sic) which was not, the

 9      creditors got the same category of documents at the same

10      time as they would have gotten.

11                     Now, this is the point, Your Honor, where I

12      make what may look like a little bit of a perverse

13      point, which is this:        The government claims, or has

14      evidence of, personal expenditures from April all the

15      way through confirmation and beyond through SVA.                But

16      that undermines their theory that those personal

17      expenditures show that Mr. Diehl was intending to

18      defraud by not disclosing SVA on the SOFA.               How does it

19      undermine it?      On October 3rd, just to pick the date

20      after this e-mail, Mr. Diehl knows that he has an

21      obligation to turn over those bank records, is actively

22      cooperating with his attorney to turn over bank

23      statements of SVA, the bank statements that will form

24      the exact same basis of these personal expenditures that

25      the government wants to introduce to show his intent to



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 1      defraud.     And what does he do?        Does he all of a sudden

 2      stop and say, uh-oh, now that I've got -- now that SVA

 3      is out there, I better not do personal expenditures

 4      through SVA anymore.        No.    Those personal expenditures,

 5      according to their chart, continue.             What does that tell

 6      us for present purposes?          That they're irrelevant to his

 7      intent to defraud by hiding SVA.            If he's making

 8      personal expenditures through SVA, is their theory,

 9      after SVA's been fully disclosed, it's obvious that they

10      don't demonstrate some sort of motive to hide SVA.              He

11      makes personal expenditures before SVA is disclosed, he

12      makes personal expenditures after SVA is disclosed.

13      Those personal expenditures don't show anything about an

14      intent to hide SVA.        They may show something about an

15      intent to fail to report those concealed assets which

16      were in the original Superseding Indictment, but they

17      don't show anything about the charges in this

18      Indictment.

19                     I kept trying to think about a good analogy,

20      and maybe this one's not going to be productive at all,

21      but the analysis is a kid is saying I don't want my mom

22      in the car, and you think, well, he doesn't want his mom

23      in the car because he's going to speed, and then his mom

24      gets in the car and he speeds anyway.             Well, maybe he

25      just didn't want his mom in the car because she doesn't



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 1      like the same radio station.           It's not because he's

 2      trying to hide the speeding.           And that's what's going on

 3      here, Your Honor.       These personal expenditures do

 4      nothing to show Mr. Diehl's intent to defraud by failing

 5      to disclose SVA.       A different -- if we were on a

 6      different indictment, Your Honor, and maybe even if we

 7      were on this Superseding Indictment instead of a Third

 8      Superseding Indictment, that's a different analysis, and

 9      that's why we brought this motion because the intent to

10      defraud here is very different than the intent to

11      defraud in a different context.

12                     Your Honor, I want to pass up now

13      Exhibit 156.      Your Honor, I think this is one of those

14      exhibits where we probably need to talk to the

15      government because they have a version of it and we have

16      a version of it.       This is an excerpt.        Mr. Diehl, two

17      days after that October 2nd date, sat for a 2004 exam.

18      And in our motion we cited some parts of the 2004 exam

19      that we thought were relevant, and then the government

20      cited some parts that they thought were relevant.               They

21      talked a little bit about the million dollars, and we

22      can talk about that.        I wanted to pass this up to you,

23      Your Honor, because I think seeing -- this is the

24      section where SVA gets discussed.            There's a bunch of

25      pages before this where they talk about other entities,



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 1      but then you can see starting on page 76, they're

 2      looking -- by the way, when they say it's not on here,

 3      they're looking at a chart that I believe Mr. Diehl's

 4      assistant prepared for a 341 hearing, and it's an

 5      exhibit to this, I didn't put it on here, but they're

 6      looking at a chart.        And the attorney for the Unsecured

 7      Creditors Committee says, hey, what's this Skyline

 8      Ventures Associates?

 9                     Mr. Diehl says, It's an entity owned by my

10      daughters, and, you know, 50 percent by each of my

11      daughters.     And we set it up in anticipating possibly

12      doing some developing in the future, and it currently

13      doesn't have any projects, it doesn't own any projects.

14                     And then it -- starting on page 78 it says,

15      you know, the Unsecured Creditors Committee clearly saw

16      exactly what I was talking about because on page 78 it

17      says, Okay.      Skyline Ventures right now, according to

18      the monthly reports that you've been filing, has been

19      making payments to you; is that correct?

20                     And he says, That's correct.

21                     This is important for a couple of reasons,

22      Your Honor.      First of all, like I said, SVA wasn't

23      hidden, it wasn't listed on the SOFA, but SVA was never

24      hidden.    It was disclosed exactly where the Unsecured

25      Creditors Committee saw it, which was the monthly



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 1      operating reports that listed it as the income.                 And, as

 2      I said, if you look through all of the monthly operating

 3      reports during the pendency before the confirmation of

 4      the plan, SVA isn't just a source of income, it's the

 5      source of 96 percent of the income.             So the Unsecured

 6      Creditors Committee here is saying, hey, we saw that,

 7      they're making payments to you, right?             What are those

 8      payments for?

 9                     Consulting work.

10                     And if I can skip to the middle of page 79,

11      it says, When you say consulting, then you mean the same

12      services you were providing through your business before

13      you stopped doing work through Wasatch Pacific.                 So here

14      the Unsecured Creditors Committee is saying, look, this

15      entity that's owned by -- this is what the unsecured

16      creditors are saying, this entity that's owned by your

17      daughters that wasn't on the SOFA, but here we are

18      asking about it, what's it doing?            And he discloses

19      exactly what it's doing.         It's doing the same things.

20      He says yes to that, the same services you were

21      providing through your business before you stopped

22      through Wasatch Pacific.         So, in other words, they know

23      that this is the new iteration of Wasatch Pacific and

24      they know Wasatch Pacific was the business Mr. Diehl ran

25      all of his business through.



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 1                     He said, Yes.       I guess -- when you say

 2      providing, I always did this stuff.             I did it for

 3      myself.    I didn't do it for other people.            And now I'm

 4      doing some of the consulting work, you know, for other

 5      people and getting paid for that.

 6                     And then they ask, Who are you doing that

 7      for?

 8                     And he says, The project that's paid in the

 9      last six months has been a development by the name of

10      Draper Holdings.

11                     When we were here last time there was a

12      check that Mr. Hirata held up which was an $80,000 check

13      in about July from a company called Boulder Ventures to

14      Skyline Ventures Associates that was one of the charged

15      counts of hidden in an undisclosed payments into Skyline

16      Ventures Associates.        And here he is in his 2004 exam

17      saying none of those guys have been paying me.                  Draper

18      Holdings and Boulder Ventures Associates, the same

19      owner.    Boulder Ventures is a holding company.                Draper

20      Holdings is a subsidiary.          And they say, Okay.

21                     It's transferring the development out there

22      that I've been taking all the heat in the paper about

23      conflicts of interest down in Draper.             But, anyway, it's

24      the developer in that that's paying me consulting fees.

25                     And they ask, And they pay it to Skyline



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 1      Ventures?

 2                     And he says, Yes.

 3                     Skipping ahead a little bit because if you

 4      can turn to page 88 he discloses more about what Skyline

 5      Ventures is.      And what did your daughters invest in

 6      Skyline Ventures?       What did they do to obtain 49

 7      percent -- or 50/50?        What did they do for their 50/50

 8      shares?     What have they contributed?

 9                     They contributed some of their time, but we

10      really haven't started to do anything.             My bankruptcy

11      kind of happened and my daughter was going to move from

12      Dallas to here, maybe set up an office.              Stopped her

13      from doing that when I filed bankruptcy.              So I'm waiting

14      to sort all of this out.

15                     Skyline Ventures is housed out of your home?

16                     Yes.

17                     On the next page.        Now, Kim is your

18      assistant at Wasatch Pacific.           Does she work for Skyline

19      Ventures?

20                     Yes.

21                     It's basically the same company just

22      continued under a different name?

23                     No.    We're actually trying to do some new

24      work.     There really isn't too much to do on the other

25      stuff, that is the prior projects, because it's just



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 1      sitting.

 2                     And then this is another important point

 3      here, Your Honor.       On page 90, All right.         Tell me

 4      generally, how do you plan to propose a plan?

 5                     Your Honor, the government has in the past

 6      said, oh, look, when you said no, we really haven't

 7      started anything with Skyline Ventures Associates, what

 8      they're talking about here is his plan to get things

 9      going.     He does describe, Your Honor, that if Skyline

10      Ventures Associates he says -- he's doing -- if you go

11      back to page 79, he says, You know, we're working on

12      several projects right now, but like I tried to tell you

13      yesterday -- the billing records will show that there

14      was a phone call that wasn't recorded between the

15      Unsecured Creditors Committee lawyers and Mr. Diehl and

16      his attorney -- when I talked to you, it takes a couple

17      of years before you really generate any cash flow from a

18      project because there's a lot of work to do.               And that

19      makes sense.      These are big developments.          He says, so

20      while we're in that phase we're out there trying to find

21      some things that I can do consulting-wise to try to

22      bring in some income and keep us afloat.              So he

23      described earlier, Your Honor, that he's in the phase of

24      let's try and keep us afloat, and here he's talking

25      about, well, what projects do you have.              And Mr. Tajada



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 1      asked him, Tell me generally how do you propose a plan,

 2      how do you plan to propose a plan?            This is the very

 3      first part, Mr. Tajada is saying what are you doing

 4      here?    You've got this Chapter 11, what are we doing

 5      here?    Well, if in fact we can be successful in

 6      eliminating a large portion of the debt that's on here,

 7      my plan would be to try and formulate a plan over the

 8      next five years where we would pay everything back.               We

 9      would have to do that based on a percentage of income

10      that I bring in.

11                     And then asked, Okay.         You don't have any

12      other employment other than working for Skyline right

13      now; is that right?

14                     That's correct.

15                     So now they know that he's only working for

16      Skyline Ventures Associates.

17                     And if you go two more pages ahead,

18      question -- and this is on line 6, page 93 -- The source

19      of your plan now would be -- I'm sorry, what was the

20      source of the plan payments?

21                     Same thing.      I had to go out and do

22      development of projects.         The same thing as he had

23      declared bankruptcy back in the '90s and they asked how

24      he paid it off then.

25                     Okay.    Is there any property that you would



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 1      liquidate to fund your plan?

 2                     No.    We do all new projects that are outside

 3      of these.

 4                     So they would all be for new service, right?

 5                     Yes.

 6                     Would you do the projects under the existing

 7      companies or under the new companies?

 8                     We would -- right now my thinking is that we

 9      would manage it under Skyline, but we would be no

10      different than we had done here.            We acquire a piece of

11      property, another LLC would be set up in order to hold

12      that, and the interest would be held, depending on how

13      we funded it.

14                     And he says, Okay.

15                     And then he says, I don't think we would do

16      it any different that we've done in the past.

17                     I apologize, somehow I've contrived to

18      misplace my outline.        Your Honor, I went through all of

19      that because, again, the question is you have these

20      personal expenditures.         After he disclosed all of that

21      about SVA, they know it's his only employer, they know

22      it's the entity he's going to use to pay off the plan.

23      And the government's theory seems to be that somehow or

24      another he thinks he's hiding things in SVA.               If this

25      were a case where there were another entity called, you



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 1      know, Skyline Group Associates and all of the personal

 2      expenditures went through that, but Skyline Ventures

 3      Associates was what he told the Creditors Committee

 4      about, I get how failure to list the Skyline Group

 5      Associates might be relevant to some sort of intent.

 6      Here, Your Honor, in this case, all of these personal

 7      expenditures are not relevant at all to show his intent

 8      when he listed on the SOFA said he didn't report SVA.

 9                     Your Honor, there's a qualitative difference

10      between everything he did list on the SOFA and SVA,

11      which he did not, and that is, he didn't have on paper

12      any ownership interest in SVA.           As it's noted, his

13      daughters owned it 50/50.          And the government's theory

14      is, well, he was a managing executive of it.               And,

15      again, we have to ask what do these later personal

16      expenditures far down the road have to do with showing

17      that he intended to defraud by failing to list SVA when

18      he was a managing executive of it.            And they haven't

19      articulated that.       Instead, what they argued, what the

20      intent to defraud would show is this general subterfuge

21      intent to defraud, you know, hiding things from

22      creditors.     And, again, that's not charged in this

23      Indictment.      So the intent that they've articulated they

24      plan to prove is not at all what's charged in the

25      Indictment.



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 1                     Again, I think it's worth comparing, and I

 2      may be belaboring the comparison, between the prior

 3      Indictment and your ruling on that prior Indictment and

 4      why we think the ruling should be different here.               In a

 5      prior Indictment they alleged as a concealment and a

 6      false statement that there was a $50,000 transaction

 7      that came in on December 23rd.           And if you're alleging,

 8      okay, on December 23rd a $50,000 transaction comes in,

 9      and then we want to show expenditures.             That makes a

10      certain amount of sense.         You say, okay, if you're

11      alleging that he concealed that 50,000 and he spends it

12      on a whole -- he doesn't report it and he spends it on a

13      whole bunch of things, all right, that makes a certain

14      amount of sense.       If the allegation is, hey, at some

15      point long before failed to disclose SVA on a SOFA

16      and -- but shows up all sorts of other places, that

17      personal expenditure doesn't have probative value to

18      that intent.      The way that it might have probative value

19      to the intent to conceal the asset or fail to disclose

20      in those charges that were in the Indictment but no

21      longer are.

22                     Your Honor, the government seems to from

23      time to time -- it's in every iteration of the

24      Indictment, Mr. Hirata said it during his argument last

25      time, get up and say the price of bankruptcy is full



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 1      disclosure.      And it actually isn't.         It's compliance

 2      with the rules.       And I think that's important because a

 3      lot of the things that -- for example, the government

 4      had one exhibit to their opposition, and it was a list

 5      from that same document where there were questions about

 6      Skyline Ventures Associates.           And in that they ask, hey,

 7      we see your income of $376,000.           What is -- what was the

 8      source of that income that you made in 2011?               And

 9      Mr. Diehl said, I can't tell you that, you would have to

10      ask Brent that.       Brent being Brent Daines, his

11      accountant.      He had been identified earlier.

12                     And the government says, look at that, he's

13      deflecting, I think deflecting is the word they use,

14      deflecting what's the source of that income.

15                     First of all, Your Honor, it's a little bit

16      hypocritical of the government.           We've now had three --

17      when we started off, the first tax count, and the tax

18      count asked -- said that there was tax due and owing on

19      Mr. Diehl's tax return for 2011, the evasion count

20      that's just been dropped out.           And you'll recall that

21      the first iteration of that said there's tax due and

22      owing of 300,000.       And then they interlineated it down

23      to 190,000.      And then they dismissed it.          And it's my

24      understanding the reason they dismissed that evasion

25      count is because they couldn't prove tax due and owing



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 1      because they couldn't prove, as you look at all the

 2      records, what Mr. Diehl's income is for 2011.                   So if the

 3      IRS revenue agent who is assisting in the prosecution

 4      team, who has as much time, presumably, as they need to

 5      look at these documents before they make the monumental

 6      decision to indict Mr. Diehl on tax evasion, can't get

 7      it right and can't get it right two different times, the

 8      fact that they are saying that Mr. Diehl is deflecting

 9      by saying, gee, I don't know, ask my accountant feels to

10      me hypocritical.       But more to the point, Your Honor,

11      it's honest.

12                     I'm going to show you a document, this is a

13      Government Exhibit 12-15.          And this is an e-mail chain

14      on April 12th.      The SOFA was filed on April 13th.               And

15      just to identify everybody who participated in it,

16      there's someone named Kim Iba.           Kim has a bunch of

17      different last names that you'll see in the record.

18      There's Kim Iba, Kim Monroe, Kim Arcade, that's all the

19      same person.      Kim Iba is what she was going by at this

20      time.     She was Mr. Diehl's personal assistant.                And we

21      read a little bit ago that she worked out of his home

22      office.     There's Brent Daines, that was Mr. Diehl's CPA.

23      And you'll notice all of those e-mails are between those

24      two and they're cc'g Mr. Diehl.           And the e-mails are

25      Ms. Iba on April 12th sends a document saying e-mailing



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 1      profit and loss statements.          Please look these over.

 2                     And then Mr. Daines responds, looks better

 3      on the income side.        Reprint the income statement and

 4      collapse the account to not show the sub-accounts.

 5      Let's see if that cleans it up.

 6                     And then Ms. Iba says, Yep, shows some

 7      income.    However, in 2010 shows a huge net income, and

 8      the tax return shows a deficit of 659.

 9                     So what you see here is Mr. Diehl's

10      bookkeeper -- I call her an assistant, but she's a

11      bookkeeper.      She does significant amounts of

12      bookkeeping.      We've exhibited her CV.         I didn't bring it

13      to show it to you, but that's who she is.              So the

14      bookkeeper and the CPA are going back and forth with

15      financial statements.        And you saw that the CPA gave

16      some specific directions on how to present those

17      financial statements.

18                     And then if you look at a couple of pages

19      back here, Your Honor, I think it's the fourth page

20      back, you have a profit and loss statement for 2011,

21      dated April 12, 2012.        This was the attachment that

22      Ms. Monroe shared.        And it says 376,706.83.         Now, what

23      shows up on the SOFA is 376,708.83, I think.               I think

24      there's a $2 transcription error between this document

25      and the SOFA.      But that's the number.         And so when



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 1      Mr. Diehl says when he's asked, hey, where did that

 2      income come from, and he says, I can't tell you, you'd

 3      have to ask Brent, my accountant, he's saying that

 4      because Brent, his accountant, is the one who came up

 5      with it.     And when you say, I can't tell you, again,

 6      Your Honor, that hypocrisy of the government in their

 7      opposition saying that's him deflecting, when they

 8      themselves spent months and couldn't come up with an

 9      accurate income number is pretty astounding.               Mr. Diehl

10      gave them an honest answer to that.

11                     And, Your Honor, also I would note, just as

12      an aside, the false statement that they allege in kind

13      of the prong -- the first prong of Count 1, that million

14      dollars that failed to be reported, the income that

15      needs to be reported, this is the same year, same year

16      as his tax return for 2011.          The government just

17      dismissed the evasion count, I assume, because they

18      can't prove Mr. Diehl had tax due and owing, and I

19      assume because they couldn't prove he had tax due and

20      owing because he didn't have income.             And the thing he's

21      asked to report is gross income.            And here we have -- he

22      reports whatever his accountant gave, this 376.                 I'll

23      just be interested to see what the government's theory

24      is on his income if they couldn't show tax due and owing

25      because he didn't have income for 2011 for tax purposes.



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 1      Showing that Mr. Diehl was attempting go defraud by

 2      failing to report this million dollars or by reporting

 3      the 376, Your Honor, I think just shows again that

 4      there's kind of a lack of clear understanding of intent

 5      to defraud.

 6                     Your Honor, I've been talking quite awhile,

 7      just to reiterate what I think are the most important

 8      points:    This is a very narrow case.           It may have a

 9      really broad theory behind it, but that's not what we

10      judge 404(b) by.       You won't find 404(b) cases that say,

11      hey, this is relevant to show intent to defraud of their

12      theory, uncharged theory.          What you'll see is is this

13      relevant to prove an element of the charged crimes.              And

14      here the only charges, the only charge that I think is

15      relevant to -- that they intend to offer these personal

16      expenditures for is an intent to defraud by failing to

17      list SVA on that SOFA.         That's it.     It's not this broad

18      free-ranging intent to defraud.           It's not the same

19      intent to defraud we have with the concealment and false

20      statement case of -- false statement being failing to

21      list specific income items during the time period

22      contemporaneous with those personal expenditures.

23                     Obviously, Your Honor, if you have any

24      questions now, I'm happy to take them.

25                     THE COURT:      Taking your arguments and



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 1      putting them in concrete terms that we can apply, under

 2      your argument what -- how would we characterize, how

 3      would we describe the evidence you believe should be

 4      excluded?     Categorize them in --

 5                     MR. WASHBURN:       First of all, Your Honor, I

 6      would say that any -- that expenditures out of SVA that

 7      are not charged in the Indictment are other acts.                And I

 8      think all of the -- what we asked for in our original

 9      motion was that it be excluded evidence that Mr. Diehl

10      made personal expenditures out of Skyline Ventures

11      Associates.      And we also ask that it be excluded this

12      use of an American Express card that was paid by SVA.

13      So that's what we would ask to be excluded is those

14      personal expenditures.

15                     I apologize, I told you I was done, but I

16      want to make one last point, and that's the 403 point,

17      if I may.     Your Honor, what we've been hearing over the

18      last few days is that the government has -- is serving

19      new witnesses, they're amending their witness list to

20      add a whole bunch of additional witnesses.               Those

21      additional witnesses apparently are here to testify

22      solely about these personal expenditures.              They're going

23      to bring people in, Mr. Diehl's ex-wife, Mr. Diehl's

24      ex-wife's brother-in-law to talk about, oh, Mr. Diehl

25      paid for my family to take a flight on the X, or he paid



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 1      for this or that or the other.           I would estimate that a

 2      third of the witnesses that we're going to hear from are

 3      going to have some -- are primarily going to be just to

 4      talk about these personal expenditures.              And that's the

 5      sort of distraction from -- you know, we're going to

 6      have this jury hearing -- if we let this in, all of a

 7      sudden we're going to have Mr. Diehl's ex-wife come in

 8      and say, yep, Mr. Diehl bought me this necklace and it

 9      came out of SVA.       And what does that have to do with the

10      decision this jury is going to be asked to make, which

11      is, should Mr. Diehl have listed SVA on his SOFA.                   And

12      all of a sudden you've got his ex-wife saying, yeah, he

13      bought a necklace for me at Christmas 2012.               That's the

14      nature of the evidence that the government, as I

15      understand it, and I -- obviously I'm not -- I may be

16      mischaracterizing it, I'm not doing that intentionally,

17      but that's my understanding is they're intending to call

18      a series of witnesses to do nothing but that.                   And under

19      403, even if this were -- it had some probative value to

20      that intent of what was going through his head back in

21      April 2012, and I don't think it does, but even if it

22      did, the possibility of confusing the issue, the

23      possibility that the jury will hear that and say, wow,

24      he's spent all this personal money out of SVA, that

25      sounds wrong, and not connect that to, wait a second,



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 1      that's not the question I'm being asked to consider.

 2      I'm being asked to consider did he act as an intent to

 3      defraud when he failed to list SVA on the SOFA, a very

 4      narrow question.       I think the risk of confusion is high

 5      under Rule 403.

 6                     THE COURT:      Thank you.

 7                     MR. WASHBURN:       Thank you, Your Honor.

 8                     THE COURT:      Mr. Hirata.

 9                     MR. HIRATA:      Pardon me, Your Honor, I just

10      want to get some water.

11                     THE COURT:      Sure, go ahead.

12                     MR. HIRATA:      Judge, the United States'

13      theory has not changed.         It's very clear, it's been

14      stated throughout all the Indictments in this case, that

15      the defendant created and used SVA as a subterfuge to

16      funnel and spend money throughout the plan confirmation

17      period, disclosing some, not other funds, and as to

18      undisclosed funds using them for personal expenses.

19                     Your Honor, the -- what ties together all of

20      the evidence that Mr. Washburn has pointed to from his

21      side of the case, and that would include bankruptcy

22      filings, 2004 examinations, all of those items pertain

23      to intent, intent.        And intent is a fundamental element

24      under 152 sub (3), false declaration.             And that's really

25      what's at issue here.        What was in Terry Diehl's head at



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 1      the time he filed on April 13, 2012, the statement of

 2      financial disclosures and responding to question 18 and

 3      not identifying Skyline Ventures Associates, Inc.                So

 4      how do we ascertain intent?

 5                     THE COURT:      Let me stop you for just a

 6      moment.    What is the intent that the government is

 7      required to prove?

 8                     MR. HIRATA:      It's the intent not to list SVA

 9      in response to question 18.          Did he act with fraudulent

10      intent when --

11                     THE COURT:      That's the part I want you to

12      focus on, the fraudulent intent part.

13                     MR. HIRATA:      Okay, and I'll do that.         And

14      let me quote from Huddleston as a starting point.

15      Extrinsic evidence may be critical to the establishment

16      of the truth as to a disputed issue, especially when

17      that issue involves the actor's state of mind and the

18      only means of ascertaining that mental state is by

19      drawing inferences from -- okay.

20                     So with regard to that fraudulent intent in

21      not disclosing SVA in answer to question 18, you have to

22      consider, as Huddleston notes, circumstantial evidence.

23      That would include, as we've alleged in the Indictment,

24      the creation of SVA, not in his name, but in the names

25      of his daughters.       You would also need to note prior to,



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 1      again, the submission, the failure to disclose that a

 2      bank account is opened in the name of SVA.               He's not a

 3      signer on that account.         You would also need to note,

 4      and this all bears upon his intent not to disclose, his

 5      managing up to the point of that filing, SVA running its

 6      day-to-day affairs, managing all of the money that goes

 7      into that account.        It's not his daughters'.         They have

 8      no hand in the business.         And that's the evidence you'll

 9      hear at trial.      But it's Terry Diehl and Terry Diehl

10      only managing the business, managing the money in,

11      managing the money out.

12                     THE COURT:      I don't understand the defense

13      to be arguing that that's precluded.             That goes to

14      whether or not he was a managing executive.

15                     MR. HIRATA:      Correct.

16                     THE COURT:      Okay.

17                     MR. HIRATA:      Right.

18                     THE COURT:      Go ahead.

19                     MR. HIRATA:      Okay.    And in addition to that,

20      Judge, that he's the managing executive, it's important

21      to note this:      Not only was he the managing executive of

22      SVA, he was SVA.       There was nobody else involved in the

23      business, there was -- it's not as though, as

24      Mr. Washburn stated very early in his argument, he

25      called -- he noted that the defendant recognized SVA's,



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 1      quote, "his employer."         That's misleading.        He was SVA.

 2                     THE COURT:      Well, but that goes to questions

 3      of piercing the corporate veil.           Are we going to have a

 4      trial about whether or not he disregarded the corporate

 5      formalities, whether or not he treated this as a

 6      separate entity?

 7                     MR. HIRATA:      No --

 8                     THE COURT:      Because if you say he was SVA,

 9      that's the same as saying SVA is not entitled to legal

10      recognition.

11                     MR. HIRATA:      And I don't mean to say that

12      when I say he's SVA.        What I do mean to say is that he

13      and only he was in full control.

14                     THE COURT:      Okay.    That goes to whether he's

15      the managing executive.

16                     MR. HIRATA:      That's right.

17                     THE COURT:      I get that part.

18                     MR. HIRATA:      Okay.    That's the managing

19      executive.     Okay.

20                     So that evidence is relevant to his intent.

21      The events and circumstances leading up to that filing

22      wherein he failed to disclose SVA.

23                     Additionally, what else goes to his intent,

24      what other circumstantial evidence bears upon his intent

25      when he knowingly and intentionally failed to disclose



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 1      SVA?   We will put on evidence that following the filing,

 2      following the filing he ran money, again, under his full

 3      control as the managing executive, through SVA,

 4      disclosed only some of that on monthly operating

 5      reports, and to the extent he didn't disclose, he used

 6      some of that money for personal expenses.              That also

 7      bears upon his failure to note SVA and fully disclose,

 8      and I'll get to full disclosure here in just a bit.

 9                     THE COURT:      Let me make sure I understand

10      what you're arguing.        It would be the intent of the

11      government to offer that more money was earned in SVA

12      than was reported on the monthly operating report.                 So,

13      for example, they reported $10,000, I don't know if

14      that's the particular instance, but in concept it would

15      be, well, they really earned 15,000, only 10,000 got

16      reported, and the 5,000 was used for personal

17      expenditures.

18                     MR. HIRATA:      Some of it, yes.       That's the

19      theory, that's the argument.

20                     THE COURT:      I want to make sure that I'm

21      tracking your argument.

22                     MR. HIRATA:      Okay, fair enough.        That

23      occurred, the evidence will show, for I believe it's 11

24      out of the 13 monthly operating reports that were filed.

25      There was undisclosed funds -- there were undisclosed



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 1      funds, some of which were used for personal expenses

 2      that creditors were completely unaware of.

 3                     So what additional acts following the filing

 4      of the petition are relevant to his intent?               The

 5      statements that Mr. Washburn alluded to in the 2004

 6      examination, it's the government's position that there

 7      wasn't full disclosure there.           He did not inform them in

 8      plain terms that it's his business that he exclusively

 9      manages and controls, controls all the money coming in

10      and going out of SVA.

11                     THE COURT:      What does that have to do with

12      the disclosure in the SOFA, as Mr. Washburn calls it?

13                     MR. HIRATA:      He purposely didn't disclose in

14      the SOFA SVA because --

15                     THE COURT:      That's the charge, that is the

16      charge.

17                     MR. HIRATA:      That's the charge.        He

18      purposely didn't disclose because that gave him the

19      opportunity to portray SVA in a different manner,

20      something other than what it actually was, that is, him

21      being the managing executive over which he had full

22      control.     And I'll give you an example.

23                     THE COURT:      Let me make sure I understand

24      your argument.      So assuming that he had disclosed SVA in

25      the Statement of Financial Affairs, how would that have



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 1      changed anything that came subsequently?              How did his

 2      failure to disclose change in any way his interactions

 3      with the Creditors Committee and their attorneys?

 4                     MR. HIRATA:      Because at that point they

 5      would know that it's actually his company that he's

 6      managing, and so when they see these payments coming

 7      from Skyline Ventures Associates to him, it would raise

 8      a question, well, now wait a minute, so he's paying

 9      himself?     That doesn't make sense, right?           And so that's

10      where he would run into problems and issues.               And

11      that's, again, Your Honor, that's the government's

12      theory here is that he purposefully failed to disclose

13      SVA on the front end so that he could control the

14      narrative going forward as to what SVA was, which at the

15      end of the day was something less than what it actually

16      was in operation and as the evidence will come out at

17      trial.

18                     Again, Your Honor, if you look at the

19      monthly operating reports, it shows payments going to

20      him in the form of consulting fees from Skyline Ventures

21      Associates.      I believe there are a series of checks.

22      And that's what Kim Iba, his bookkeeper, will testify

23      to, that every month they get together, she and the

24      defendant, to ascertain, all right, so what expenses are

25      we going to pay this month.          He would then, based upon



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 1      the total expenses that they were set to pay, would

 2      dictate to her the number of checks to write out on the

 3      SVA account to himself that he was going to characterize

 4      as consulting fees, and those payments, those checks,

 5      added up to expenses for that month.             That was not an

 6      accurate picture of what occurred month-by-month.                  And,

 7      in fact, there was additional money being received into

 8      SVA not disclosed to creditors and the bankruptcy court,

 9      and that money was used in part for personal expenses.

10      That's all relevant.        Again, Your Honor, by not

11      disclosing SVA up front, he gets to control what we

12      believe, and our position is, a misleading narrative

13      relative to what SVA actually is.            It's something other

14      than what it is.

15                     The 2004 examination, if I may get back to

16      it, yes, he's asked questions about SVA, but he never

17      fully tells it straight up what it is.             Right?       That

18      it's his business that he exclusively manages and

19      controls.

20                     THE COURT:      So under your theory of the

21      case, what is it that he should have disclosed in the

22      debtor's examination that he didn't disclose?

23                     MR. HIRATA:      What I just said, Judge, that

24      it's his business that he exclusively manages and

25      controls.     Why?    Because that is wholly inconsistent



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 1      with what he's put on monthly operating reports to date.

 2      And so Engels Tajada, who was taking the examination,

 3      and Troy Aramburu, who was sitting in on the

 4      examination, both lawyers to the Creditors Committee, if

 5      they learn the true circumstances, then they have good

 6      questions to question the operating reports, because

 7      it's all of a sudden, well, now we're really confused

 8      because Skyline Ventures Associates, as you've portrayed

 9      it in these reports, is something -- is some separate

10      company that's paying you a consulting fee wherein at

11      the end of the day in reality it's your company, you're

12      in full control of it, you're in control of all the

13      money going in and out of it.            And, by the way, here's

14      another thing he's not disclosing that the money that is

15      going in and out is not fully being reported on those

16      monthly operating reports.            He doesn't even disclose

17      that.

18                     THE COURT:      Mr. Washburn represents that the

19      Creditors Committee had all of the bank statements.               If

20      they had the bank statements, that shows all of the

21      money that was -- are you arguing that there was money

22      that was going into bank statements that were not

23      disclosed?

24                     MR. HIRATA:      No.     But I will say this:     What

25      Mr. Washburn has raised is a factual question, because



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 1      the government will be putting on evidence of the

 2      creditors, in particular the lawyers for the Creditors

 3      Committee, not being necessarily -- let me back up.

 4      That argument, Judge, goes to the argument of what the

 5      Creditors Committee should have known, right?                   So

 6      that -- he's saying, hey, all of these records are

 7      available, and for whatever reason they didn't either

 8      look at them, or they looked at them but didn't pick up

 9      on what they should have picked up on, therefore there

10      was full disclosure.        Well, Your Honor, the United

11      States' point is this:         The jury is entitled to consider

12      all of the evidence that's occurring during this same

13      period, so they can consider the stipulation that

14      Mr. Washburn referred to, the 2004 examination, but they

15      should also be able to consider the monthly operating

16      reports and the money that's coming in and out and

17      what's not being reported.          All of that, at least in the

18      United States' view, is relevant to fraudulent intent.

19      It strikes me, Your Honor, that the defense can't have

20      it both ways, to keep out all of this evidence following

21      the filing of the SOFA and to then cherry pick whatever

22      evidence they see fit in an effort to defeat the

23      critical element of fraudulent intent.             The jury is

24      entitled to all of that evidence so that it can make in

25      its wisdom a determination as to whether the government



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 1      has met its burden as to fraudulent intent.

 2                     He also noted that what does acts of

 3      concealment have to do with this?            Acts of concealment,

 4      Your Honor, go directly to fraudulent intent.                   Again,

 5      you can look at -- again, goes to his motive in failing

 6      to report SVA on the front end.            It goes to his motive

 7      in, again, controlling the narrative as SVA means

 8      something other than what it actually was.               Acts of

 9      concealment also bear upon that because, again, acts of

10      concealment bear upon the controlled narrative that it's

11      something less than what it actually was, as portrayed

12      by defendant.      All of that evidence is relevant for the

13      jury's consideration as to that key element.

14                     THE COURT:      What is the government's

15      contention of the period of time for which that evidence

16      is relevant?

17                     MR. HIRATA:      From -- so from the filing of

18      that Statement of Financial Affairs --

19                     THE COURT:      What about before, what about

20      before the filing of the Statement of Financial Affairs?

21                     MR. HIRATA:      Oh, yes.     As I noted, again,

22      it's the steps that he took to set up SVA, that's

23      important, that's relevant because that also goes to his

24      intent.    And if he's not putting his name on

25      registration papers, if he's not putting his name on the



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 1      bank statements, all of that is relevant to his intent

 2      not to disclose on the SOFA.

 3                     THE COURT:      So basically from the creation

 4      of SVA through what date?

 5                     MR. HIRATA:      The end date, we would submit,

 6      is when the plan is confirmed.            Because it's up to that

 7      entire point that he continues to control the narrative

 8      filing monthly operating reports, not fully disclosing.

 9      As to what he's not fully disclosing, he is using for

10      personal expenses, personal expenses.

11                     THE COURT:      Okay.

12                     MR. HIRATA:      That's the relevance of the

13      personal expense, that's the relevance of the American

14      Express expenses.       We're not trying to, for lack of a

15      better description, dirty up Mr. Diehl by showing these

16      discreet personal expenses.            But all we're trying to do

17      is prove them up, it's just that.            That's our burden.

18      And if we are deprived of calling his ex-wife,

19      brother-in-law, vendors, admitting business records to

20      show that these are, in fact, personal expenses, then

21      that deprives us of the ability to again prove up the

22      critical element of fraudulent intent.

23                     I believe that's our position, Your Honor.

24                     THE COURT:      Mr. Washburn, do you wish to

25      respond?



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 1                     MR. WASHBURN:       Yes, Your Honor.       The reason

 2      I started where I started with what the implications of

 3      listing SVA on the SOFA were is to demonstrate that

 4      Mr. Hirata talks about setting a different narrative in

 5      all of this.      Listing it on the SOFA lists Skyline

 6      Ventures Associates, Inc., it lists an address, and

 7      that's about it.       And then you have these operating

 8      reports that I talked about that would have been

 9      triggered, and then -- and that's it.

10                     And when we look at the 2004 order, Your

11      Honor, by the time of the 2004 order that -- the time

12      for a second operating report wouldn't have come.               So

13      you have a 2004 order, what does it say?              It says

14      Skyline Ventures Associates is a closely-held entity of

15      Mr. Diehl.     So when Mr. Hirata says, oh, he gets to set

16      a narrative in the 2004 exam, I have no idea what he's

17      talking about.      It's not as if when you list something

18      in the Statement of Financial Affairs in response to

19      question 18 you have to write an essay about who it is,

20      what it does, or anything else.           You just list its name

21      and address.      There is no narrative, Your Honor, to

22      listing it or not listing it.

23                     Mr. Hirata mentioned, I think this is an

24      important part here, mentioned a 2004 exam, and you

25      asked him what ought he to have disclosed that he



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 1      didn't, and Mr. Hirata listed some things.               I don't know

 2      how many depositions he takes.           I'm not a big deposition

 3      guy, Your Honor, I'm mostly criminal.             I get into them

 4      from time to time.        And the number one instruction that

 5      you give to a deponent is listen to the question and

 6      answer it.     And so when Mr. Hirata says, well, he should

 7      have disclosed this and he should have disclosed that,

 8      what he doesn't show you, because it doesn't exist, is a

 9      question that Mr. Diehl didn't answer honestly.                 They

10      say he should have disclosed it.            I guess what they're

11      saying is they should have asked a question and he

12      should have answered it.         A 2004 exam isn't where you

13      come in and make a debtor -- you come in and say what's

14      everything that you would want to know if you were us,

15      spill the beans.       I suppose you could ask that as the

16      first question.       It might draw an objection.          But that

17      didn't happen here.        And so when they say, hey, he

18      should have disclosed X, Y or Z.

19                     You asked, Your Honor, I think it's the key

20      question here, you know, what would have been different,

21      because when you asked him the timeframe, when you asked

22      Mr. Hirata the timeframe, what timeframe do you think is

23      relevant, after the point on that 2004 order where SVA

24      is disclosed, certainly after that point.              I think

25      honestly, Your Honor, before that point as well.                 But



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 1      the fact that the government is saying the personal

 2      expenditures that occur after that point are evidence of

 3      his intent not to disclose SVA on the SOFA makes no

 4      sense to me.      It's been disclosed as a closely-held

 5      entity.    It's been a subject of whatever questions

 6      Mr. Tajada and Mr. Aramburu chose to ask him in the 2004

 7      exam and he answered.        If they believed that he answered

 8      falsely in the 2004 exam, Your Honor, I assume that we

 9      would have a count about that.

10                     And what this isn't, Your Honor, I think

11      it's important because I kept going to the intent not to

12      list it, and when I heard Mr. Hirata up here talking, it

13      sounded like he was talking about a conspiracy case or a

14      scheme case or something like that.             That's not what

15      this is.     This is a false statement case.           And so the

16      intent isn't intent to run a grand scheme, it's not

17      intent to, you know, hide.          Certainly, Your Honor, he

18      would be entitled to introduce evidence of who set up

19      SVA.   We're not objecting to that, Your Honor, but what

20      we're saying is evidence that there are these

21      expenditures out of SVA, especially in the context of

22      the disclosures he made.         Because the fact that he made

23      those disclosures in September, and nobody freaked out,

24      Your Honor, the disclosures he made in September are --

25      when you look at the Statement of Financial Affairs and



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 1      the entities listed, the disclosure in September is the

 2      equivalent and more, and there was no -- what that

 3      demonstrates -- Your Honor, fundamentally here it

 4      demonstrates -- and I keep saying it's a Chapter 11 --

 5      this isn't what this -- we're trying a case about a

 6      bankruptcy -- a narrative in this bankruptcy that didn't

 7      exist.     These creditors knew that the way they were

 8      going to get paid is exactly what Mr. Diehl described,

 9      he had to go out and do some deals.             And as he told

10      Mr. Tajada taking this exam, he was doing some

11      consulting to keep himself afloat until he could go out

12      and do these deals, and he was going to do the deals

13      through SVA.      That was the bankruptcy.         The bankruptcy,

14      this fictional bankruptcy that Mr. Hirata described

15      where the creditors were pouring over every single one

16      of his bank statements to find out, you know, did he

17      spend too much money on a magazine subscription, because

18      if he did that could have come to us.             That's not this

19      bankruptcy.      It never was this bankruptcy.

20                     THE COURT:      Let me ask you a question.

21                     MR. WASHBURN:       Sure.

22                     THE COURT:      One of the elements is the

23      intent element, as I understand it, it is the intent to

24      defraud.     So explain how you understand it, what that

25      means.



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 1                     MR. WASHBURN:       Your Honor, I'm going to --

 2      first I'll start just by reading it out of the footnote

 3      number 1 from the government's motion, The defendant

 4      made the declaration fraudulently.            Okay.    That's the

 5      element that I think when they talk about intent to

 6      defraud that they have to establish.             And then when they

 7      talk about, To act with fraudulent intent means to act

 8      knowingly with the specific intent to deceive,

 9      ordinarily for the purpose either to cause financial

10      loss or loss of property or other financial gain, either

11      to oneself or to the detriment of a third party.

12                     THE COURT:      So they're talking about the

13      trustee and essentially the creditors.

14                     MR. WASHBURN:       That's correct, I assume as

15      far as third party.

16                     But, again, the intent, they have to prove

17      that he made that declaration fraudulently.               And the

18      government, when we talk about fraudulent intent,

19      Mr. Hirata up here talked quite extensively about their

20      theory of the subterfuge.          That's not this.       They have

21      to prove -- and it's the only intent they have to prove.

22      So they can't broaden their intent obligation and say,

23      no, no, no, we have to prove this really broad intent,

24      and so let in the kitchen sink.           They have to prove that

25      the defendant made the declaration, that is, the



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 1      declaration under the Statement of Financial Affairs

 2      question 18 where he listed a whole bunch of entities,

 3      but not SVA, that he made that omission of SVA

 4      fraudulently, that's all they have to prove.               That's the

 5      only intent they have to prove.           Their intent -- I'm not

 6      saying it's a light burden.          I'll be arguing it's a

 7      heavy burden, but it's a narrow burden as to that

 8      statement.     It's not as to, you know, when he set up SVA

 9      he was intending to defraud.           They don't have to prove

10      that.     When he filed a monthly operating report in

11      October or November of 2012 he intended to defraud,

12      don't have to prove that.          And so we were looking at

13      404(b) and other acts and are those relevant to the

14      intent.     The intent we're talking about is this narrow

15      intent.

16                     Your Honor, if I may, Mr. Hirata described

17      something in the 2004 exam that I think is worthwhile,

18      and it's because it's sort of the core of I guess his

19      theory, which is, had they known that he was managing

20      it, they would have asked a bunch of different

21      questions.     And so let me read, and this is on page 79,

22      You know, we're working on several projects right now --

23      and actually let's go back to 78.            Okay.    Okay.     Skyline

24      Venture right now, according to the monthly operating

25      reports, will be making payments to you.



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 1                     That's correct.

 2                     What are those for?

 3                     Consulting work.

 4                     What does that mean?

 5                     Working on a bunch of projects.            I told you

 6      it takes a couple of years.          Just summarizing here.             And

 7      we're trying to find consulting work to keep us afloat.

 8                     When you say consulting, do you mean the

 9      same services that you -- listen to the language they're

10      using -- that you were providing through your businesses

11      before you stopped working through Wasatch Pacific?                     So

12      they're saying, what is Skyline Ventures doing?

13                     He says, Well, we're doing some consulting.

14                     And they say, When you say consulting, you

15      mean the same services you were providing through

16      Wasatch Pacific?

17                     Yes.

18                     Is there -- could there be confusion here

19      about the -- the item Mr. Hirata talks about?                   Yes.    I

20      guess when you say providing, I always did this stuff,

21      did it for myself.        I'm actually doing some consulting

22      for people in their own projects, and they're paying me

23      to do it.     Mr. Diehl isn't saying, hey, Skyline Ventures

24      Associates is doing consulting and, you know, I as a

25      consultant with Skyline Ventures am doing it.                   No.    I'm



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 1      doing consulting and they're paying me to do it.

 2                     Who are you doing that for?

 3                     And then he describes whom they did it for.

 4      And he says it's for the development in Draper.

 5                     And they pay it to Skyline Ventures?

 6                     Yes.

 7                     So what they know is when Mr. Diehl's out

 8      there doing consulting in the same work that he did with

 9      his other business before he stopped working through

10      Wasatch Pacific, he's doing it through Skyline and they

11      pay Skyline.      They know that.       The thing that Mr. Hirata

12      said was, well, if they had known that he was the one

13      operating it, they would have asked about the payments

14      he was making to himself.          What don't they know?

15                     THE COURT:      The question is is whether the

16      jury should hear that.

17                     MR. WASHBURN:       Well, Your Honor, whether

18      they should hear this testimony, I agree they should.

19      That's not what we're seeking to exclude.              What we're

20      seeking to exclude is evidence of personal expenditures

21      going out from Skyline Ventures Associates, because I

22      don't think -- I don't think those personal expenditures

23      and the American Express bills and all of that evidence

24      doesn't tell us anything at all, especially, Your Honor,

25      where we're sitting there in November, Skyline Ventures



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 1      Associates has been disclosed more than it would have

 2      been under the SOFA.

 3                     THE COURT:      Let me frame the issue as I'm

 4      understanding it.       I think the government's argument is

 5      that Mr. Diehl failed to disclose in the Statement of

 6      Financial Affairs the existence of SVA because that

 7      advanced his ability to be able to take in money in SVA,

 8      use funds for personal expenditures paid out of SVA that

 9      otherwise, if they had come to him in his own personal

10      account, would have been disclosed, controlled, argued

11      about in the bankruptcy court, and that is therefore

12      relevant to the question of whether he had an intent to

13      defraud when he failed to disclose SVA.              I think that's

14      the government's argument.

15                     MR. WASHBURN:       I think you've articulated it

16      as well.     Although I think they argued it --

17                     THE COURT:      The question is is why is it not

18      relevant to what his intent was to show that he was in

19      fact using personal expenditures out of SVA?

20                     MR. WASHBURN:       Because, Your Honor, look at

21      Terry Diehl right after the 2004 exam, okay?               And what

22      we have there is there has been way more -- again, let's

23      focus on what's required if he files -- if he listed on

24      the Statement of Financial Affairs.             If he lists SVA on

25      the Statement of Financial Affairs, all he has to do is



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 1      file periodic monthly operating reports.              Now, certainly

 2      the creditors would know he was affiliated with it.                     So

 3      let's look at what happens the day after the 2004 exam.

 4      What do the creditors know?          They know he's affiliated

 5      with it because of that 2004 stipulated order.                  They

 6      know, if they care to, everything in this transcript.

 7      They know they have the right to get those bank

 8      statements.      I want to be clear, Your Honor, the e-mail

 9      showed that Mr. Anderson is offering the bank statements

10      on October 2nd.       I think the evidence is going to show

11      that the response never came back from the creditors

12      right then, and there's some back and forth.               And what

13      finally happens is the Creditors Committee in their

14      billings and in some e-mails there's evidence that they

15      looked at bank statements on -- not until January.                     So I

16      just want to be clear there.

17                     The point from our perspective is if we're

18      looking at Mr. Diehl's intent to defraud, there he is

19      saying you can have it, come and look at it if you want.

20      Then we ask ourselves, all right --

21                     THE COURT:      Here's my question:        Is that an

22      issue for the jury, should the jury hear that evidence,

23      or is that so far afield from the intent issue -- the

24      intent element that the jury shouldn't hear it?

25                     MR. WASHBURN:       I think these statements --



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 1      the personal expenditures are so far afield, and the

 2      reason I think they're so far afield is again if we're

 3      sitting there in October and Mr. Diehl having disclosed

 4      all that, is making personal expenditures, the notion

 5      that when he is making a personal expenditure out of SVA

 6      in December of 2012, having disclosed everything we know

 7      he disclosed, somehow or another that's relevant to show

 8      that he intended to defraud clear back in April when he

 9      didn't list Skyline Ventures Associates, Your Honor, it

10      proves the opposite.        And I don't want the jury to hear

11      it because I think it's confusing.

12                     THE COURT:      Let me pose something that's not

13      grounded in the evidence at all, but it tests the theory

14      of the case and my understanding of it.              Suppose that

15      the evidence were that Mr. Diehl reported on the monthly

16      operating reports consulting income of $10,000.                 Suppose

17      that there was $100,000 received by SVA that was spent

18      on the personal expenditures, wouldn't that be relevant

19      to his intent?

20                     MR. WASHBURN:       In certain counts it might

21      be, Your Honor.       If this were a concealment case, if it

22      were a scheme case, if it were a failure to disclose

23      $100,000 case, maybe it would.           But in this case, Your

24      Honor, like I said, was he sitting there -- let's put

25      him in November of 2012, and Mr. Diehl is writing a



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 1      check out of SVA for a personal vacation to Jamaica.

 2      I'm making it up, whatever it is.            Now, he knows he's

 3      disclosed it all in September, SVA, he listed it as a

 4      closely-held entity.        He was asked about it.         His

 5      attorneys have said come look at the bank statements

 6      whenever you want.        And he makes that personal

 7      expenditure.      How is that relevant in any way whatsoever

 8      to what his intent was in April of 2012?              If he's making

 9      personal expenditures after he's completely disclosed

10      it, how does that show that he hid it so that he could

11      continue making personal expenditures?

12                     THE COURT:      Here's the issue:       That may be a

13      very persuasive argument, but is that argument for the

14      jury to hear, or is it one that is so prejudicial that

15      they may confuse the issue and hold Mr. Diehl -- find

16      Mr. Diehl guilty for reasons that have nothing to do

17      with his true intent?        That's the issue.

18                     MR. WASHBURN:       I think it's both that

19      prejudicial.      It's also important to note that it's

20      completely uncharged, and its probative value is

21      really -- is quite slight.

22                     And so here when we're talking about 404(b)

23      there's a gatekeeper function where under the cases -- I

24      apologize, I don't have it right in front of me.

25                     THE COURT:      I understand the cases.



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 1                     MR. WASHBURN:       You've got that list of

 2      claims, and one of them is is it charged, is it not.

 3      And then you go -- eventually we get to 403.               And I

 4      think where we are here, Your Honor, is that intent,

 5      that the probative value of these personal expenditures,

 6      giving the full context of what went on to his intent

 7      back in April of 2012 when he listed all of the entities

 8      that he owned, but not this one that he didn't on the

 9      SOFA is so small that when we have a trial, and they

10      start to put on evidence that's going to look like a

11      bankruptcy scheme to defraud case, which this isn't,

12      it's going to be so prejudicial that the jury's going to

13      get confused, and there's a substantial risk.

14                     THE COURT:      Let me ask this question:           Would

15      it make a difference in your argument if the personal

16      expenditures occurred before the Statement of Financial

17      Affairs as opposed to after the Statement of Financial

18      Affairs?     Because the question of intent is the intent

19      at the time he submitted the Statement of Financial

20      Affairs.     And to the extent we consider subsequent

21      evidence, it has to be evidence that is sufficient to

22      show that at the time he entered it -- I compare it kind

23      of like to a contract case.          You have a contract case

24      and you try to prove what the intent of the parties was

25      when they entered the contract, you can look at the



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 1      course of dealings to say, you say now that your intent

 2      was X but for three years you acted as if it were Y,

 3      that evidence is admissible.           So we have two segments

 4      here.    One is the period of time before the Statement of

 5      Financial Affairs and whether there were personal

 6      expenditures used by Mr. Diehl out of SVA before he

 7      signed it.     The second one is subsequent events.

 8                     MR. WASHBURN:       And I understand the

 9      distinction, Your Honor, because you're saying, look,

10      those ones before, it seems, would give much more of a

11      buildup to, okay, well, what's he thinking --

12                     THE COURT:      Yes.

13                     MR. WASHBURN:       -- you know, on that date

14      when he signed it.        And I guess what I would say, Your

15      Honor, is our motion, as I've thought about it, has

16      primarily been focused -- it was something that we

17      thought up when we were looking at all these exhibits.

18      The summaries, that all of theirs are, you know,

19      post-filing expenditures.          I think those personal

20      expenditures, if you're asking --

21                     THE COURT:      There is at least, I believe,

22      maybe this is another motion, but I believe there's

23      evidence of personal expenditures before he signed the

24      statement.

25                     MR. WASHBURN:       There's certainly one of



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 1      their summaries, I think, that talks about that, Your

 2      Honor, now that you mention it.           I guess for present

 3      purposes, Your Honor, I've been thinking --

 4                     THE COURT:      It may also go to the question

 5      of whether he's a managing executive.

 6                     MR. WASHBURN:       The pre-expenses?       You know,

 7      Your Honor, I think that's fair to say, well, might that

 8      demonstrate whether he's a managing executive.

 9      Honestly, Your Honor, I feel like I would like to think

10      about that one a little bit because that distinction

11      isn't one that I've considered.

12                     THE COURT:      The one that immediately comes

13      to mind is the purchase of the Mini Cooper.

14                     MR. WASHBURN:       Maybe that's a good segue for

15      me to sit down and for Mr. Peters to talk.

16                     THE COURT:      Let's hear from Mr. Peters.

17      Mr. Peters, you can determine what's most comfortable,

18      whether you just remain there or whether you move up to

19      the podium.      And it's supposed to slide down far enough

20      for you.

21                     MR. PETERS:      I might do a little bit of

22      both, Your Honor.       I like to get the some exercise.

23                     May it please the court, Your Honor, my

24      argument -- comments this morning are directed to

25      document 86, rather than to the more comprehensive



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 1      motion that Mr. Washburn has argued.             And I want to lay

 2      into the record that this motion was prompted by a

 3      witness disclosure on October 21st, 2017.              Our motion is

 4      specifically directed to currently marked Exhibits 12-7,

 5      12-8, 12-9, 12-10, 12-11, 12-12, and 12-13.               I would

 6      note preliminarily that the government has pointed out

 7      that we do not in our motion ask to exclude Exhibit

 8      12-14.    And they're right.        That's in a different

 9      category of exhibits, Your Honor, because Exhibit 12-14

10      is postpetition.       To the extent that dates are useful

11      here and responding to the court's inquiry about

12      prepetition conduct, if you will, versus postpetition

13      conduct, it is significant that the vehicle that the

14      court referred to was purchased on or about

15      December 5th, as near as I can tell.             I may be off by a

16      few days, but I'm close I think.

17                     THE COURT:      As I remember, there were

18      actually two vehicles, there was a Fiat that was

19      purchased on, as I remember, about December 1st, it was

20      traded in in exchange for a Mini Cooper on about

21      December 5th.

22                     MR. PETERS:      Sounds right to me, Your Honor.

23                     THE COURT:      I suspect that all of those

24      transactions will be offered by the government.

25                     MR. CASTLE:      That's correct, Your Honor.



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 1                     MR. PETERS:      Yes.    I'm just noting for the

 2      record that the exhibit the government refers to, number

 3      12-14, refers to conduct on or about May 1st, 2012, so

 4      it's postpetition and is not currently the subject of my

 5      argument to the court.

 6                     So I saw that in the court's order on the

 7      prior motion in limine the court cited to the Henthorn

 8      case.    Probably a useful case to discuss very briefly

 9      because it's such a different form of prosecution.              Not

10      only is it a homicide case, but the similars involved,

11      allegations of the defendant murdering his late wife, I

12      guess I should say for the record.            And so it's all a

13      rifle-shot analysis.        It doesn't lay out like this case

14      does as a canvas where there is conduct that today the

15      government is essentially arguing as scheme conduct, but

16      they've charged, as we know, specific acts of fraud.              So

17      if we just assume for a moment that this evidence is

18      being offered for a proper purpose under Henthorn, I

19      mean I'll just assume that for a moment, but it's hard

20      to reconcile it to the government's prior position here

21      in which, as the court noted in its October 19th order

22      at document 74, the government conceded earlier in this

23      prosecution that it only intends to proffer evidence for

24      three items that were provided in an addendum under

25      seal, item 3, 6, and 9.         It's our argument today that



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 1      the evidence directed to these vehicles would violate

 2      the government's agreement, I'm going to call it, or the

 3      government's concession in the court's prior order

 4      because it would trample on items 4 and 14 in the

 5      addendum.     But I'm not sure that that's dispositive of

 6      the problem here.       Additionally, the evidence must be

 7      relevant under Henthorn and ultimately Huddleston.

 8                     So what do we know from what appears to be

 9      undisputed evidence on the vehicle transaction?                 We know

10      that some form of cash was paid to purchase the vehicle,

11      in addition to the value of the trade on the earlier

12      vehicle.     We know that it was tiled to SVA.            I would

13      represent to the court that the funds cannot be traced

14      and will not be traced to any SVA account.               Mr. Hirata

15      mentioned that an SVA account was opened.              That's true.

16      I believe it was opened in late 2011.             But there is no

17      evidence that that account which was opened with a check

18      written by Kim Monroe, who the court has heard about, in

19      the amount of $1,000, there is no evidence that that was

20      the source of payment for this vehicle.

21                     So, ultimately, we know that about four

22      months before the petition was filed on March 30, 2012,

23      Mr. Diehl apparently facilitated the purchase of a

24      vehicle that was titled to SVA, all of this in relation,

25      I might add, to his individual bankruptcy.               I mean I



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 1      think distinctions make a difference sometimes.                 And as

 2      the court is aware, bankruptcy is a legal fiction.                 This

 3      was an individual Chapter 11 reorganization, and SVA was

 4      not the debtor.       And it is not alleged, as the court has

 5      pointed out, that SVA was the alterego of the debtor in

 6      bankruptcy.      It isn't even alleged in the Indictment

 7      that SVA was an affiliate of the debtor.              So --

 8                     THE COURT:      It seems to me -- I don't want

 9      to cut off your argument, but it seems to me that if

10      this evidence is relevant at all, it is relevant to the

11      question as to whether or not Mr. Diehl was the managing

12      executive of SVA.

13                     MR. PETERS:      That's exactly right, Your

14      Honor.    That's what it comes down to.

15                     THE COURT:      So address if he was executing

16      these transactions on behalf of SVA, is that

17      probative -- is that some evidence that would advance

18      the proposition that he was the managing executive?

19                     MR. PETERS:      And I would say that on a

20      prepetition analysis it is not.           This case, this

21      bankruptcy case that we're here about was commenced on

22      March 30th, four months after these vehicles were

23      acquired.     They don't tie to anything about the business

24      of SVA.     There are few evidentiary arguments I would

25      like to turn to in a moment that I think make it dubious



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 1      whether the evidence can possibly suggest by -- at least

 2      by a preponderance of the evidence in admitting it or

 3      not.     I'm not sure that a preponderance of the evidence

 4      suggests that it would be admissible as evidence that

 5      the court is alluding to as evidence that Mr. Diehl was

 6      a managing executive of SVA.

 7                     But what I can tell the court as well is

 8      that there won't be many examples of this postpetition.

 9      In other words, it is not the case, categorically not

10      the case, that Mr. Diehl continued to buy vehicles and

11      title them to SVA after the date of the petition.               I

12      don't expect the evidence will show so.              And it is not

13      the case further -- let's just turn to what I think the

14      court is alluding to, if I may.           May I hand up two

15      exhibits?     I think that's all I'm going to need.

16                     THE COURT:      Sure.

17                     MR. PETERS:      May I have a moment, Your

18      Honor?

19                     THE COURT:      You may.

20                     (Mr. Peters handing exhibits to Mr. Hirata.)

21                     MR. PETERS:      Your Honor, what's before the

22      court are two exhibits previously marked by the

23      government.      It consists of Government's Exhibit 12-8 in

24      what I'll call its unabridged form for the moment

25      because there are several versions of Government's



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 1      Exhibit 12-8 now based on the government's latest

 2      filings.     And then the other exhibit I've handed up is

 3      Proposed Exhibit Government 12-10.            So that's 12-8 and

 4      12-10.

 5                     Now, beginning with 12-8, it's my

 6      understanding that this purports to be ultimately a

 7      36-page compilation of some form of mailing containing

 8      the contents of the Mini Cooper transaction.               It appears

 9      to be a mailing to Mr. Diehl.            But if you back into the

10      exhibit, Your Honor, I think by seven pages you'll see

11      what is entitled a Resolution of Board of Directors of

12      Skyline Ventures Associates, Inc., but it's not signed,

13      the difference being it's not signed.             So it appears --

14      and we've attempted to contact the witnesses who were

15      disclosed on Saturday and I think again one of them on

16      Monday, and thus far unsuccessful.            But it appears that

17      the dealership prepared the resolution that, at least in

18      Exhibit 12-8, is unsigned.            And understanding what it

19      represents, those representations include a

20      representation that the corporate seal of the

21      corporation would be hereinto affixed.             And you'll note

22      that in Exhibit 12-10 there is no such seal.               There's a

23      signature, but there's no seal.

24                     I would also ask the court to note that --

25      where is this exactly?         Yes.     And that the above is a



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 1      true and correct copy of a resolution duly adopted at a

 2      meeting of the board of directors thereof convened and

 3      held in accordance with the law and bylaws of the said

 4      corporation.      In other words, that the corporation and

 5      its board of directors had made a decision to purchase

 6      this vehicle, and there is no such resolution in the

 7      government's evidence.

 8                     And further, as we have tendered in our

 9      final proposed jury instruction number 7, under Utah law

10      all corporate power shall be exercised by or under the

11      authority of, and the business and affairs of the

12      corporation managed under the direction of, its board of

13      directors.     I believe I'm referring to Utah Code

14      Annotated 16-10a-801.        I make these points because it is

15      unclear that the document marked as Exhibit 12-10 could

16      be sufficiently authenticated under Rule 9014, or under

17      any category of the non-hearsay exception 801 should it

18      be authenticated.

19                     So this is a long way of saying, Your Honor,

20      on the point that you raise as to the managing

21      executive, I'm not sure the court could find by a

22      preponderance of the evidence that Exhibit 12-10 in a

23      signed version should come before the jury as admissible

24      evidence.     And I make that point independently.

25                     THE COURT:      Why wouldn't it come before the



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 1      jury as an admission of the defendant?

 2                     MR. PETERS:      Well, only if it can be

 3      established that it's authentic.

 4                     THE COURT:      Meaning his signature.

 5                     MR. PETERS:      Yes.     And I will also add, Your

 6      Honor, that --

 7                     THE COURT:      Obviously that has to be

 8      established.

 9                     MR. PETERS:      Right.     And if so, I

10      anticipate, the government hasn't said so, they would

11      offer this through the testimony of Kim Monroe, the

12      assistant that Mr. Washburn referred to.              We believe

13      that this document was taken by Ms. Monroe in some form,

14      whether it was executed or not, when her employment

15      ended, which was well before the Indictment in this

16      case.    And I would also note that Mr. Diehl had a stamp

17      that she routinely used to sign his signature.                  So there

18      are a number of questions about the document

19      independently of the Henthorn analysis.

20                     The government filed a response to our

21      motion last night at approximately 5:00 p.m.               I have a

22      few hopefully helpful comments about that in lieu of a

23      reply.    At page 4 of the response the government

24      indicates that Mr. Dooley, who was apparently the car

25      salesman, required the defendant to provide a corporate



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 1      resolution from SVA showing that he had the authority to

 2      act on SVA's behalf before the car could be titled.

 3                     Your Honor, we're not sure, again, that

 4      anybody on our side prepared this resolution.                   We think

 5      it may have been prepared by the car dealer, and that

 6      the car dealer required this to go forward with the

 7      transaction.      So at the time of this hearing this

 8      morning we object to the introduction of the evidence,

 9      even if you find it would satisfy Rule 404(b), as

10      evidence of intent.        I can tell you that you won't see

11      these resolutions in the evidence that I've been

12      provided at any date after December 5, 2011, they

13      won't -- they are not something that you'll see

14      postpetition, you won't see them in any other fashion

15      prepetition.

16                     And so I think that focuses us on the 403

17      analysis because that's one of the tests we have to go

18      through under Henthorn.         And I don't want to belabor the

19      point, but I think the evidence that is before the court

20      and the exhibits that we have identified for exclusion

21      clearly raise 403 concerns that outweigh the probative

22      value of this isolated resolution if it can be

23      authenticated and properly admitted at trial.                   The

24      content of it clearly does not bear on this bankruptcy.

25      I would say I believe that the vehicle was sold sometime



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 1      postpetition and the proceeds were deposited into an SVA

 2      account.     But there's not going to be any evidence in

 3      this case that SVA was in the business of buying or

 4      selling vehicles.       SVA was in the business of developing

 5      land and related ancillary services.

 6                     So I believe, Your Honor, that this is being

 7      proffered before the jury to prejudice the defendant.               I

 8      believe it would prejudice the defendant significantly

 9      and that the prejudice would be substantial and would be

10      far greater than any probative value and would warrant

11      exclusion under 403.        It's a side show to this

12      bankruptcy case, this particular transaction is a side

13      show.    It doesn't come from any evidence I've reviewed

14      from advice of counsel provided to Mr. Diehl, it doesn't

15      come from any elaborate planning that I can deduce to

16      engage in a scheme.

17                     And as Mr. Washburn has pointed out quite

18      correctly, there is no scheme charged here.               If this

19      were a scheme case that were alleged to have begun in

20      December of 2011 with this event, for example, it might

21      be different.      But it's a rifle-shot Indictment now with

22      all of these counts having been abandoned.               There's just

23      the one bankruptcy fraud count.           It comes much later on

24      April 12th of 2012.        It is not, in my view, proximate in

25      time to the transaction that I'm discussing, we'll call



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 1      it the vehicle transaction.

 2                     The government cites several cases, all

 3      Tenth Circuit, at page 8 of their response yesterday

 4      afternoon for the proposition, among others, and you

 5      heard this from Mr. Washburn, that somehow this vehicle

 6      purchase is inextricably intertwined with what is

 7      charged.     So let's figure out what would really have to

 8      happen for that to be an accurate statement.               First of

 9      all, and this is a distinction with a difference that

10      will pervade I believe the entire legal analysis of this

11      Indictment, as Mr. Washburn has pointed out, this is a

12      reorganization in bankruptcy.           This was not a bankruptcy

13      filed to discharge debt, to liquidate debt.               And so the

14      purchase of this vehicle might be far more relevant if

15      it was an asset that could have been used to pay

16      creditors in liquidation, which it was not.               So I don't

17      countenance the idea that the government is advocating

18      that somehow the purchase of this vehicle four months

19      before bankruptcy was, quote, inextricably intertwined

20      to the false statement that is alleged on the Statement

21      of Financial Affairs.        I likewise don't countenance that

22      this evidence, as the government puts it, is part and

23      parcel of that proof because it's not proximate in time

24      and it's obviously not the motivation for the

25      bankruptcy.      Mr. Diehl did not seek bankruptcy



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 1      protection to hide this transaction, to hide this asset,

 2      to conceal this asset from his creditors.

 3                     The bankruptcy involved, as I understand it,

 4      about $37 million dollars of debt.            It's not what the

 5      case was about.       Mr. Diehl went into bankruptcy

 6      individually to reorganize.          And as the court has heard

 7      in prior proceedings, has repaid a substantial portion

 8      of the debt.

 9                     So it rings out to me, Judge, that this

10      evidence would be substantially outweighed by the danger

11      of unfair prejudice and the court should very carefully

12      consider whether it should come before the jury.

13                     Now, I don't -- I would like to hear what

14      the government will say, but at page 9 of 14, the

15      government says that the evidence in question here, the

16      vehicle transaction, proves the defendant's plan,

17      preparation, knowledge, and intent to falsely omit SVA

18      from the Statement of Financial Affairs.

19                     Not to be repetitive, I would ask how.           To

20      me it proves the defendant's intent to seek an

21      arrangement with someone for whom he bought a car that

22      was titled to this business and doesn't tie in any

23      significant way to his intentions in bankruptcy.

24                     As I've noted, there are no other examples

25      of Mr. Diehl representing himself to be an officer or



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 1      director of this entity in any of the evidence.                  There

 2      were 600 exhibits.        This is only one.

 3                     At page 11 of the response the government

 4      argues that this evidence goes to prove the defendant's

 5      motive, knowledge, and intent about lying and concealing

 6      SVA from his creditors.         And on December 5, 2011, I

 7      would ask the court what creditors could they possibly

 8      be referring to since there was no bankruptcy estate,

 9      there was no bankruptcy petition, and none of the legal

10      fiction that attends all of that was in place.                  So there

11      is no evidence that this vehicle was titled to SVA to

12      keep it out of the reach of someone that Mr. Diehl owed

13      money.

14                     The proposed evidence the government

15      contends is relevant under Rule 402 because is highly

16      probative of the defendant's state of mind, I would say

17      that the evidence before the court is highly probative

18      of the defendant's intent to purchase this vehicle

19      trading a Fiat for it and putting down cash.               They can't

20      be traced to this estate.          The government's not trying

21      to trace it to this estate.          And, again, we have a

22      fundamentally different form of bankruptcy at play here,

23      namely a reorganization.

24                     Your Honor, I understand that the court has

25      substantial discretion in ruling on this motion.                  These



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 1      are my comments.       I feel very strongly that this will

 2      prejudice our case, this particular piece of evidence

 3      that I'm focusing on.        And to get a fair trial we ask

 4      that it be excluded.

 5                     Yeah.    I guess my final comment about the

 6      response would be that the government cites to the Old

 7      Chief case.      These felon in possession cases keep coming

 8      up all the time in 404(b) analysis, and it's inevitable

 9      because there's a proof requirement on the underlying

10      conviction.      But to be unfair, according to the United

11      States Supreme Court, the evidence has to have the

12      capacity to lure the factfinder into convicting on a

13      ground different from proof specific to the offense

14      charged.     And that's what I think we have here.              We have

15      a fairly nefarious piece of evidence.             It doesn't tie

16      well to this bankruptcy.         It is only an isolated

17      instance of unique form of resolution, like the ones

18      before the court in this argument as Exhibits 12-8 and

19      12-10.     And I ask the court to exclude the evidence.

20                     I would like to reserve time for reply, if

21      the court will hear it, although I know that the hearing

22      has been going for some time.           Thank you, Your Honor.

23                     THE COURT:      Thank you.

24                     Mr. Castle, I hate to do this, but I have an

25      obligation before the judge's meeting on an item that I



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 1      am primarily responsible for, so I'm going to -- we're

 2      going to have to take a break.           I know you're all really

 3      busy getting ready for trial, but if we came back at

 4      1:30, would that inconvenience everybody too much?

 5                     MR. CASTLE:      Your Honor, that will work for

 6      the United States.

 7                     MR. PETERS:      Fine for us.

 8                     THE COURT:      I'll hear your argument at 1:30,

 9      and hopefully by that point, after further argument, be

10      in a position to rule on the motions.             We will be in

11      recess until 1:30.

12                     (Recess.)

13                     THE COURT:      We are back in session in United

14      States v. Diehl.       Counsel are present, Mr. Diehl is

15      present.

16                     Mr. Castle.

17                     MR. CASTLE:      Thank you, Your Honor.

18                     Your Honor, I thought maybe before I get

19      into the substance of my argument that we would go over

20      the exhibits.      As I indicated in my response as to

21      Exhibit 12-8, I reviewed that exhibit yesterday and

22      realized there are probably documents in there that

23      under no circumstances would we admit those, and so what

24      I did is I went ahead and attempted to re-mark the

25      exhibits that I believe we will use.             There's still



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 1      12-8.    And, Your Honor, I should have mentioned with

 2      respect to 12-8 the exhibit that was given to the court

 3      actually was missing a cover page on that document.                   And

 4      I have that for the court, if I could approach.                 Not

 5      that this is necessarily a huge issue, it's not, I just

 6      want to let the court know that that was -- that

 7      Exhibit 12-8 was an exhibit that was obtained when a

 8      search warrant was executed on Mr. Diehl's home, and

 9      apparently this is a file that was being maintained by

10      Kim Iba.     And you can see on the front there it says

11      Liz.    As I understand it, Your Honor, that refers to Liz

12      Carillo, the woman for whom Mr. Diehl purchased the Fiat

13      and then the Mini Cooper.          So I just wanted to clarify

14      that.

15                     I think that at least -- I think it's

16      generally our office's practice, Your Honor, is that we

17      overidentify exhibits and mark them for the reason that

18      it's hard to anticipate what's going to happen at trial,

19      and we might need to use an exhibit that we didn't think

20      we were going to use.        We certainly don't want to be

21      accused of not identifying that particular exhibit as an

22      exhibit.

23                     I've also handed, Your Honor, to Mr. Peters

24      what I will call a reconstituted Exhibit 12B which

25      involves 12A -- excuse me, 12-8, 12-8B, 12-8C, and



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 1      12-8D.    And I have those for the court.            I know I sent

 2      copies over.      I just wanted, in the event they are not

 3      handy, there they are.

 4                     Your Honor, originally the motion of

 5      Mr. Peters, at least the way I read it, was a motion to

 6      enforce the court's prior in limine order.               And as we've

 7      proceeded here, and I think as I articulated in my

 8      response, that the evidence that we propose to use

 9      that's identified in these exhibits that we've been

10      talking about don't violate your previous in lim order.

11      I mean that was the caption at least on this motion.

12      It's our position that it doesn't.            We're talking about

13      a different kind of evidence.           In fact, my response

14      would be, based on your ruling, that we had to show

15      personal expenses, that we in fact are following that

16      order, and calling these witnesses, Ms. Carillo in

17      particular, to talk about personal expenses that

18      Mr. Diehl expended on her benefit and coupled with that

19      and we're going to bring in other evidence to show that

20      that money was taken from Skyline Ventures Associates'

21      account postpetition, or after the filing.

22                     THE COURT:      Let me follow up on that because

23      Mr. Peters represented that they were unable to trace

24      the funds to an SVA account.           Do you have evidence to

25      the contrary?



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 1                     MR. CASTLE:      Well, let me tell you -- I'm

 2      glad that came up, Your Honor, because I've thought

 3      about that.      So this is what we do have:          The Fiat was

 4      purchased in the name of SVA, an SVA asset.               Mr. Diehl

 5      took an SVA asset and he traded it in.

 6                     THE COURT:      Do we know where the money came

 7      from to buy the Fiat?

 8                     MR. CASTLE:      Your Honor, we believe, though

 9      not a hundred percent sure, that the money came from

10      Mr. Diehl's withdrawal of $95,000 from a casino account.

11      And let me just say this:          Your Honor, when the Fiat was

12      purchased it was purchased with cash, $40,000, $100

13      bills.     And when the Mini Cooper was purchased, as I've

14      indicated in my response, 17,000 plus dollars in cash

15      was paid, once again in $100 bills.             So it's our

16      position, Your Honor, when it comes to that issue that

17      Mr. Diehl -- regardless of where the cash came from, the

18      Fiat was titled in the name of -- or purchased in the

19      name of SVA.      It became an SVA asset at that point.

20      Then when he took that Fiat, which was as good as money,

21      money that belonged to SVA, and purchased the Mini

22      Cooper, that demonstrates his control over assets of

23      SVA.     You can call it money.        It had a numerical value.

24      And the Mini Cooper dealership gave Mr. Diehl what it

25      thought was the appropriate value on the trade-in.               So



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 1      that's our position when it comes to the use of SVA

 2      assets for personal use.

 3                     Your Honor, but the evidence also

 4      demonstrates what has been kind of the center of today's

 5      hearing, and that is, evidence to show that Mr. Diehl

 6      knowingly and fraudulently failed to disclose SVA in

 7      response to question 18.         Well, Your Honor, I went back

 8      to my office -- we've been talking a lot about question

 9      18 but we haven't spent the time just to read what it

10      asks, but it's important.          Your Honor, I have that

11      exhibit here, Exhibit 2-5.          I provided that to defense

12      counsel, and I've tabbed it, Your Honor, just for

13      convenience purposes only.          Because what's interesting

14      about question 18, Your Honor, it asks, if you go to 18

15      subparagraph a., it says, If the debtor is an

16      individual, list the names, addresses, taxpayer

17      identification numbers, nature of the businesses, and

18      the beginning and ending dates of all businesses in

19      which the debtor was an officer, director, partner, or

20      managing executive of a corporation, partner in a

21      partnership, sole partnership, or self-employed in a

22      trade, profession, or other activity either full or part

23      time within six years immediately preceding the

24      commencement of this case.          So what that question

25      requires, Your Honor, is for a debtor to disclose the



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 1      fact that he or she has been, among other things, a

 2      managing executive of a corporation six years prior to

 3      the filing of bankruptcy.          So with Mr. Diehl, Your

 4      Honor, the evidence that we're talking about is well

 5      within that six-year period.           It is within about four,

 6      four and-a-half months.

 7                     But, Your Honor, it's the government's

 8      position that the fraud that Mr. Diehl engaged in, when

 9      it came to the filing of the Statement of Financial

10      Affairs, started long before he filed bankruptcy.                   It

11      started, Your Honor, when he formed SVA on

12      November 22nd, and that followed the formation of SVG,

13      Skyline Venture Group, in October of 2011.               And what's

14      interesting about those two, Your Honor, is that

15      Mr. Diehl owned 33 percent of SVG.            Each one of his

16      daughters owned 33 percent.          Based on that ownership,

17      Your Honor, that's clearly an entity that would have to

18      be disclosed in response to question 18.

19                     So what Mr. Diehl did, Your Honor, is he

20      formed another company where on paper he's not an owner,

21      on paper he's not an officer.           But in reality, Your

22      Honor, he was nothing less than the managing executive

23      of SVA.    And how do we know that, Your Honor?                 Because

24      within, what, 13 days of forming SVA Mr. Diehl is out

25      buying a Mini Cooper.



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 1                     Your Honor, we have interviewed Mr. John

 2      Dooley, and I will talk to him again most certainly, but

 3      I will represent to the court that he asked Mr. Diehl

 4      for a corporate resolution.          The dealership did not put

 5      that together.      That was Mr. Diehl.

 6                     And, Your Honor, just to draw this one

 7      important point, when you look at Exhibit 12-8, and

 8      Mr. Peters talked about this, there's a corporate

 9      resolution that's in there that's not signed.                   But keep

10      in mind that corporate resolution was found at

11      Mr. Diehl's home when the search warrant was executed.

12      The document we want to use is the document that is

13      signed that Desert Mini Cooper of Las Vegas, if I've got

14      that right, that's the one that they received.

15                     Your Honor, we understand there might be

16      some authenticity issues arising, and certainly we know

17      well enough that we're going to have to satisfy those

18      before the document is admitted, which we plan on doing.

19      But, Your Honor, that document's critical because it

20      shows the knowledge of Mr. Diehl and the way he viewed

21      his relationship with Skyline Ventures Associates.                   And

22      despite that, when it came to filing his Statement of

23      Financial Affairs he didn't disclose SVA.              And there's

24      another interesting point about that, Your Honor, if you

25      look at question 18 you will see that Mr. Diehl



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 1      disclosed I think 15 different entities, and the only

 2      entity he didn't disclose, the only entity that made any

 3      difference is the one he didn't disclose.              And, Your

 4      Honor, the transaction involving the Fiat and the Mini

 5      Cooper are relevant to showing Mr. Diehl's intent to

 6      falsify his answer to question 18 on his Statement of

 7      Financial Affairs.

 8                     And let me just make a note here, Your

 9      Honor, I think there's some notion out there in the

10      legal world that if a particular allegation is not

11      contained in the Indictment, that that somehow

12      supersedes the concepts of intrinsic evidence and 404(b)

13      evidence.     I think that's an over-reading of what is

14      required for the United States to put in the Indictment

15      that's returned by a grand jury.

16                     Your Honor, I make this point, and I know

17      that defense counsel talked about this, they talked

18      about, well, the government's using the word concealment

19      in the context of this false declaration.              Well, my

20      question would be what else do you call it when you fail

21      to disclose SVA?       What's your purpose for not disclosing

22      it?   You can call it concealment, you can call it

23      hiding.     And when they talk about concealment as a

24      charge, Your Honor, I want to point out that

25      concealment -- well, 152(1) concealment crime requires



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 1      an extra element of proof that is not required by a

 2      false declaration count.         And that is, Your Honor, we

 3      have to show that the property concealed was property of

 4      the estate.      We're not saying that SVA was property of

 5      Mr. Diehl's estate, just like we're not saying that all

 6      the other companies he listed were property of the

 7      estate.     What's property of the estate is his interest,

 8      Your Honor, in those companies, and it's important to

 9      list those because creditors want to know if there are

10      assets available in these companies to pay them back.

11                     Mr. Peters wanted to make the distinction,

12      Your Honor, between, well, this is a Chapter 11 and

13      somehow it's different.         Let me make two comments about

14      this.     The Statement of Financial Affairs here, 2-5,

15      Your Honor, this is a document that is used in every

16      Chapter 7, every Chapter 13, every Chapter 11 case.

17      There's not some different standard with a Chapter 11

18      case.     In a Chapter 11 case, Your Honor, the debtor's

19      objective is the same as in a 7, and that is to get a

20      discharge of his or her debts.           If you were to look at

21      the plan of reorganization that Mr. Diehl confirmed in

22      this case, you would see that very language, Your Honor,

23      that upon confirmation and the effective date of that

24      plan he received a discharge of his debts.               So people

25      that file bankruptcy, that's the objective.



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 1                     Just as a footnote, Your Honor, I might

 2      mention that when it comes to Chapter 11 cases there was

 3      a period of time in my career that I was a bankruptcy

 4      attorney, I worked at the U.S. Trustee's Office myself,

 5      that there's about a 1 percent chance for Chapter

 6      11 cases to be confirmed, and 99 percent of the time

 7      they ended up either dismissed or converted into a

 8      Chapter 7.     I'm not saying that's a real important

 9      issue.    I'm just trying to make the point that, Your

10      Honor, the requirement of being honest with respect to

11      question 18 it doesn't matter what bankruptcy you file.

12                     So, Your Honor, the exhibits that have been

13      identified up to Exhibit 12-14, Your Honor, deals with

14      the transaction involving the Fiat and the Mini Cooper.

15      Yes, we will have witnesses testify and authenticate

16      those documents.       Your Honor, that evidence is relevant

17      from our perspective.        It's intrinsic, Your Honor, to

18      show the requisite intent that Mr. Diehl had when he

19      failed to disclose SVA on his Statement of Financial

20      Affairs at the time he filed these.             And, Your Honor, I

21      appreciated your comment about that, that what we're

22      focusing in on is what was Mr. Diehl's intent at the

23      time he filed his Statement of Financial Affairs, not

24      two years later, not the time the plan was confirmed.

25      That's really not relevant.          What's relevant is what was



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 1      your intent at the time.         And the way for us to see that

 2      is his behavior before and his behavior after.

 3                     And I find it interesting, Your Honor, that

 4      Mr. Peters did not want to talk about Exhibit 12-14.

 5      And you have that, Your Honor, I provided that to you

 6      because 12-14 is the bookend to the corporate resolution

 7      Exhibit 12-10.      Because what's happened, apparently,

 8      Ms. Carillo needed some keys, she needed those around

 9      May 15th of 2012.       And, Your Honor, that date's

10      important, May 15, 2012.         Mr. Diehl's 341 meeting was

11      May 8th of 2012.       And there on May 15th, according to

12      this attachment to an e-mail that went to a Daniel

13      Reeves, Mr. Diehl, appears to be a copy of a business

14      card.    It says, Skyline Ventures Associates, Inc., Terry

15      C. Diehl, CEO-Consultant.          So we have Mr. Diehl, he

16      called himself whatever he wants, Your Honor.                   At some

17      point in the 1st of December he's identifying himself as

18      the president of Skyline Venture Associates.               He has the

19      authority to buy the Mini Cooper.            And then when he's

20      asking for these new keys for Ms. Carillo he identifies

21      himself as the CEO.        Well, he can do that, Your Honor,

22      because he's the managing executive of Skyline Ventures

23      Associates, and he does this right after his 341

24      meeting.     And at that 341 meeting he testified under

25      oath that the statements and schedules were true and



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 1      correct, Your Honor.        Seven days later he's out

 2      representing to the public that he, no, is the CEO.

 3                     And not to reiterate what Mr. Hirata said,

 4      Your Honor, but Mr. Diehl never properly disclosed his

 5      relationship to SVA.        And what's interesting about

 6      bankruptcy, Your Honor, if you make a mistake on your

 7      Statement of Financial Affairs or your Schedules of

 8      Assets and Liabilities you could always go back and

 9      amend those.      Did Mr. Diehl do that?         No, he didn't,

10      neither did his attorney.          And I'll be curious to hear

11      from Jimmy Anderson when he takes the stand, Your Honor,

12      to talk about the stipulation and order related to the

13      2004 where it indicates -- or that Mr. Diehl was

14      stipulating that that's a closely-held entity that he

15      has an interest in or has a business relationship in.

16      My question for Mr. Anderson is going to be, well, with

17      that knowledge, Mr. Anderson, why didn't you go back and

18      amend these Statement of Financial Affairs?               That's a

19      critical question because debtor's counsel has an

20      ongoing duty to make sure the documents filed with the

21      bankruptcy court are true and accurate.

22                     So, Your Honor, based on the evidence

23      confined to the 12-8 exhibits I've talked about, 12-9,

24      12-10, 11, 12, 13, 14, Your Honor, it's our position

25      that this evidence is relevant, it goes to the issue of



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 1      Mr. Diehl's intent, whether we call it intrinsic or

 2      404(b).    If we call it 404(b), it certainly fits in the

 3      category of plan, knowledge, and motive.              And based on

 4      that, Your Honor, we would ask that you deny the motion

 5      that's been filed to enforce your in limine order.

 6                     THE COURT:      Thank you.

 7                     Mr. Peters, do you wish to respond?

 8                     MR. PETERS:      Very briefly.      Without

 9      restating any argument and having attempted to

10      countenance the court's questions, as well as

11      Mr. Castle's argument, it's our position that the court

12      should enter an order in limine excluding the following

13      marked Government Exhibits 12-6, which was not a subject

14      of the motion, 12-7, 12-9, 12-11, 12-12, and 12-13.               We

15      stand by the proposition that as to Exhibits 12-10

16      and -- yes, 12-10, Your Honor, that you inquired about

17      in my argument, that 403 considerations warrant

18      excluding that exhibit for the reasons stated on the

19      record today.      However, if the court is inclined to

20      permit the use of that exhibit, then we would ask that

21      outside of the hearing of the jury we be allowed to

22      inquire of the witness John Dooley as to the

23      authenticity of that exhibit, which we believe would

24      avoid further prejudice to Mr. Diehl in the event that

25      you do permit any of this evidence at trial.               Thank you,



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 1      Your Honor.

 2                     THE COURT:      Thank you.

 3                     Let me see if I can match your list with the

 4      list that Mr. Castle has just given me.              I don't know

 5      that I have 12-6.

 6                     MR. PETERS:      12-6 was not tendered by any

 7      party in this motion practice, Your Honor.               For the

 8      record, I'm told that it purports to be a September 14,

 9      2011, e-mail from Mr. Diehl to the same witness who's

10      under discussion in this motion.

11                     THE COURT:      Let me ask --

12                     MR. CASTLE:      Your Honor, we don't -- there's

13      a little more to Exhibit 12-6 that would explain why

14      defense doesn't want that admitted.             We don't plan on

15      offering that exhibit.         And I indicated that, Your

16      Honor, in my response.

17                     THE COURT:      I will -- with respect to 12-6,

18      it will be -- assuming the government is not intending

19      to offer it, the court grants the motion.

20                     What about 12-7?

21                     MR. CASTLE:      What was 12-7?       Was 12-7

22      included, Your Honor, in --

23                     THE COURT:      What I have --

24                     MR. CASTLE:      Your Honor, I'm sorry, but that

25      was not an exhibit listed, so I don't have that in front



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 1      of me to be able to comment.           I focused on 12-8, 9, 10,

 2      11, 12 and 13, and then my 14.

 3                     THE COURT:      That's all I have in front of

 4      me.

 5                     MR. CASTLE:      Yes.    So I would ask that you

 6      not make a ruling as to 12-7 being that I can't remember

 7      what it is, so ...

 8                     THE CLERK:      E-mail from -- (not able to hear

 9      the clerk.)

10                     MR. CASTLE:      Oh, okay.     Then that would

11      include 12-7, Your Honor.          That's fine.

12                     THE COURT:      That would be granted as to

13      12-7.

14                     What's 12-9, Mr. Peters?

15                     MR. PETERS:      It purports per the exhibit

16      list provided by the government to be a Nevada DMV

17      record for a 2012 Mini Cooper.

18                     MR. CASTLE:      Well, Your Honor, that's

19      important because it demonstrates a couple of things.

20      First of all, the car was purchased for Ms. Carillo's

21      personal use.      It was titled in Nevada, she drove the

22      car in Nevada.      It was actually never used for business

23      purposes.     It was used for her personal use, so that's

24      important for us to prove where that car was titled,

25      where it stayed, and who drove that car, with



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 1      Mr. Diehl's permission, I might add.

 2                     THE COURT:      All of these rulings are subject

 3      to authentication and foundation, but on the grounds

 4      moved, the motion is denied as to 12-9.

 5                     What is 12-11?

 6                     MR. PETERS:      It purports to be the Retail

 7      Purchase Agreement for a 2012 Fiat 500 Sport.

 8                     MR. CASTLE:      No, Your Honor.       12-11, I

 9      believe, is the purchase for the Fiat -- or for the Mini

10      Cooper.

11                     MR. PETERS:      Well, it's possible.            I don't

12      have a current exhibit list.           But in the one provided by

13      the government that's the description of 12-11.

14                     THE COURT:      Would you scroll that down?

15                     MR. PETERS:      I can bring it up on the screen

16      here if you give me a moment, Your Honor.

17                     THE COURT:      The document I have appears to

18      be a Retail Purchase Agreement from Desert Mini of Las

19      Vegas.    The customer is identified as Skyline Ventures

20      Associates for a Mini Cooper.           And it's got the price.

21                     MR. CASTLE:      Yes, Your Honor, this involves

22      the purchase of the Mini Cooper.

23                     THE COURT:      The motion will be denied as to

24      that exhibit.

25                     With respect to 12-12, make sure I've got



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 1      the right one, 12-12 is the Agreement to Provide

 2      Insurance.     It appears to be signed.          Again, subject to

 3      authentication and foundation, on the grounds moved

 4      upon, the motion is denied as to the Agreement to

 5      Provide Insurance.

 6                     And with respect to 12-13, that appears to

 7      be the Division of Motor Vehicles information showing

 8      the lienholder.

 9                     MR. CASTLE:      Your Honor, I believe that that

10      particular document reflects the selling of the Mini

11      Cooper to another party at a later date.              Am I correct

12      about that?      I think that's what that document is.          I'm

13      sorry, I thought I had a copy of that.             And if it is in

14      fact that document, we don't plan on introducing that

15      in.

16                     THE COURT:      It has attached to it a vehicle

17      application for a Utah title.

18                     MR. CASTLE:      Your Honor, that's not one we

19      intend to offer.

20                     THE COURT:      That one the motion is granted.

21                     With respect to 12-10, let me get the

22      document in front of me, this is the Resolution of the

23      Board of Directors that does have a signature on it.

24                     MR. CASTLE:      Yes, Your Honor.

25                     THE COURT:      And the court denies the motion,



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 1   but provides the following explanation and limitation:

 2   To the extent that there is foundation laid and the

 3   signature authenticated and delivery is proved, in other

 4   words, that it existed someplace other than just in

 5   Mr. Diehl's file, it will be received in evidence.              I

 6   think it may be also helpful on this motion to address

 7   the issue of personal use.         To the extent that --

 8   Ms. Carillo -- is that her name?

 9                  MR. CASTLE:      Carillo, yes.

10                  THE COURT:     -- is called to testify, I think

11   it would be permissible to ask her if in fact she used

12   the car, it would be permissible to ask her if in fact

13   she had any official responsibilities as an employee,

14   officer, or other person on behalf of SVA.              Beyond the

15   fact that her involvement in the case -- beyond that

16   what -- the nature of her personal relationship with

17   Mr. Diehl, if any, was I think is irrelevant.

18                  MR. CASTLE:      Point of clarification, Your

19   Honor, she will also provide testimony about Mr. Diehl

20   buying personal items for her postpetition.              We recall

21   your ruling on that, Your Honor, so we would bring her

22   to testify about -- I'm just going to call them gifts,

23   Your Honor, for lack of a better word, that Mr. Diehl

24   purchased for her.       And we will tie that up in terms of

25   coming out of the SVA account after Mr. Diehl filed



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 1   bankruptcy.     And I am hopeful she can --

 2                  THE COURT:     If in fact that the government

 3   is able to establish evidence that SVA funds out of an

 4   SVA account were used for personal items for her, that

 5   would be admissible.

 6                  MR. CASTLE:      Thank you, Your Honor.

 7                  THE COURT:     Let me also just make one

 8   further observation that may be helpful to the parties.

 9   With respect to the funds that were used to purchase the

10   vehicles, it is going to be important to establish that

11   the funds came from SVA.         The fact that title was taken

12   in the name of SVA and Mr. Diehl tended to control that

13   would go to the fact as to whether or not he was a

14   managing executive of the company.            To go beyond to show

15   that those funds in fact were SVA funds as opposed to

16   his own personal funds, you're going to have to complete

17   the link that they were in fact SVA funds and he was

18   using an SVA account in some way in order to tie that

19   together.     Any questions about that?

20                  MR. PETERS:      Yes, Your Honor.       Are you

21   saying that foundation would need to be laid before the

22   exhibit evidence could be admitted as to these vehicles,

23   is that what the court is saying?

24                  THE COURT:     Well, to the extent --

25   foundation will have to be laid before the exhibits are



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 1   admitted and shown to the jury.           As to the fact as to

 2   whether or not he was the managing executive, I'm not

 3   going to require that be out of the presence of the

 4   jury.   To the extent that you're claiming that that was

 5   the use of SVA funds for his personal use, then you're

 6   going to have to establish that outside of the presence

 7   of the jury so that there is a -- right now I don't have

 8   sufficient evidence in front of me to make a

 9   determination as to whether they were SVA funds or not

10   SVA funds, and I will make a preliminary decision about

11   that before we submit it to the jury.             Does that clarify

12   that issue?

13                  MR. CASTLE:      It does, Your Honor.        If I

14   could just ask one question.          That doesn't preclude us,

15   though, from eliciting testimony from Ms. Carillo that

16   she used the car for her personal use, that she did not

17   have a business relationship with SVA.

18                  THE COURT:     No, it does not preclude that.

19                  MR. CASTLE:      Thank you, Your Honor.

20                  THE COURT:     I believe that's permissible.

21   Any -- let's go to -- anything further?

22                  MR. CASTLE:      Your Honor, 12-14, I know that

23   was a part of their motion, but I'm asking the court to

24   consider this as well because it connects up to a couple

25   of things that are going on with Mr. Diehl relating to



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 1   the purchase the Mini Cooper and related to his

 2   Statement of Financial Affairs and his testimony at the

 3   341 meeting.

 4                  THE COURT:     I'm looking for 14.

 5                  MR. CASTLE:      I have a copy.

 6                  THE COURT:     That's the driver's license and

 7   it's got the business card.

 8                  MR. CASTLE:      Yes.

 9                  THE COURT:     Was that attached to the

10   resolution?

11                  MR. CASTLE:      Your Honor, this is a

12   transaction that occurred on May 15th of 2012.

13                  THE COURT:     Okay.

14                  MR. CASTLE:      So, no, it would not be

15   attached to that.

16                  THE COURT:     I now see the e-mail.         This is

17   the permission to have the keys made.

18                  MR. CASTLE:      Yes, where he's representing --

19                  THE COURT:     The motion is denied as to that.

20                  MR. CASTLE:      Thank you.

21                  THE COURT:     All right.      Anything on that

22   motion before we go to the other one?             Any further

23   argument on the other motion before I announce my ruling

24   on it?

25                  MR. HIRATA:      No, Your Honor.



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 1                  MR. WASHBURN:      Any further argument that

 2   would change the ruling that you're about to announce,

 3   Your Honor?

 4                  THE COURT:     It depends on what you say.

 5                  MR. WASHBURN:      No, Your Honor.

 6                  THE COURT:     Let me tell you how I approach

 7   this ruling.     First of all, with respect to the evidence

 8   that we've just considered, I think it falls under the

 9   classification of intrinsic evidence.             I think one of

10   the elements of proof is that Mr. Diehl was a managing

11   executive, that's one of the requirements that the

12   government is required to prove, and the documents go to

13   the fact that he was a managing executive and was

14   extrinsic evidence -- excuse me, intrinsic evidence.

15                  MR. CASTLE:      Thank you, Your Honor.

16                  THE COURT:     With respect to the other

17   motion, I do not find that the evidence is intrinsic

18   that has been proffered by the United States.               So I

19   believe that the proper analysis is under a 404(b)

20   analysis as to that evidence.

21                  Let me explain the way I'm analyzing this

22   and give you a chance to respond to that before I

23   finalize my ruling.       I believe that it is -- if this

24   evidence is to come into evidence, it must come in under

25   the exception for other acts that satisfy the element of



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 1   proving intent or motive.         And the intent and motive

 2   that I believe is at issue is to whether there was an

 3   intent to defraud by Mr. Diehl at the time -- excuse me,

 4   that he signed -- that he signed the declaration in

 5   which he failed to disclose SVA.           As to that issue, the

 6   way I view this is if there was evidence prior to the

 7   time that he submitted that declaration that he had used

 8   the SVA account as his personal account to pay for

 9   personal expenses, and then he continues to use the

10   account to pay for personal expenses after he filed the

11   declaration, then I think the post-filing conduct does

12   indicate that he had an intent, at least there's an

13   argument for the jury from which the jury -- could be

14   argued to the jury that he had an intent to continue to

15   use the SVA account post-filing the same way he did

16   before filing, and that was an intent to fail to

17   disclose that information to defraud the creditors and

18   preclude them from considering assets of SVA in

19   assessing any plan of reorganization.             So my thought is

20   that the government would be required to prove as

21   foundation that there was pre-filing, pre-declaration

22   use of the SVA account for personal use, and that

23   subsequent to the filing Mr. Diehl continued to use the

24   SVA account for personal use, and that that would

25   then -- if that foundation is satisfied, both the



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 1   pre-filing and the post-filing would come into evidence.

 2   However, I think at some point the use of the account

 3   becomes so remote -- so distant from the time of the

 4   filing that its use for arguing intent serves no

 5   purpose.    It would appear to me that that date would be

 6   the date of the filing of Mr. Diehl's personal tax

 7   return in October of 2012.

 8                  So the way I've been analyzing and thinking

 9   about this the use of the personal account should be

10   considered separately prior to the filing, use of the

11   SVA account for -- I misstated that.            I'll restate it so

12   it's clearer.      The use of the SVA account for personal

13   use should be separated pre-filing and post-filing, and

14   the post-filing period would continue up until I think

15   it's middle of October of 2012 when he filed his

16   personal income tax return.          Beyond that I believe that

17   it becomes so distant and so separated from the time of

18   the filing that it has -- that its prejudicial value

19   then would outweigh any probative value it would have to

20   support the intent element.

21                  Questions?     You can try to convince me I'm

22   wrong in this, and if I'm wrong, I'll correct.

23                  MR. CASTLE:      Your Honor, I understand I'm

24   not the one that argued that motion, but you raised

25   another issue, and that is, if you are cutting off the



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 1   evidence as of October related to Mr. Diehl's intent,

 2   that it would be our position that any argument about

 3   what happened after that point in favor of Mr. Diehl,

 4   whether he had a plan confirmed or not, whether the case

 5   is still open is equally irrelevant as a defense, and it

 6   wouldn't be appropriate for them to make that argument.

 7   If they make that argument, then I would think we would

 8   be able to show that evidence.

 9                  THE COURT:     And I won't rule on that, but I

10   will acknowledge that that is an issue you can raise.

11   And if the post-October information is offered, I'll

12   hear argument at that time whether or not there is some

13   additional analysis that should be considered in

14   determining weather it's relevant at that point.

15                  So any further comments, objections,

16   clarifications from counsel?

17                  MR. WASHBURN:      I guess I'm just curious on

18   the tax return, Your Honor, where that comes from.              I

19   mean if I were looking at it I would say that the

20   intent -- if you were going to do a cutoff date, on that

21   September 27th when the order is filed where they say,

22   hey, SVA is an entity that's closely held related to me,

23   and, you know, it's been fully disclosed, that date

24   makes sense to me.       I'm just interested in what the

25   rationale was behind it.



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 1                  THE COURT:     I'll tell you what my rationale

 2   is and you can talk me out of it if I'm wrong.                  My

 3   rationale is that the personal tax return that's filed

 4   in October has relevance, and that the false return that

 5   is alleged here is the Wasatch Pacific return and

 6   whether or not income should have been reported on the

 7   Wasatch Pacific return.         The personal return becomes

 8   relevant as to whether or not that was a material

 9   failure to disclose as a part of the Wasatch return.                 If

10   Mr. Diehl had reported the million dollars on the

11   personal return, the Wasatch tax return may have been

12   immaterial because it in fact was required to flow

13   through a Subchapter S return in any event.              So if the

14   return was reported on the October return, it doesn't

15   matter that he failed to report it on the Wasatch

16   Pacific return.      But if he didn't report it on either

17   return, then it's relevant to show that there was

18   personal income that was not reported.             Does that make

19   any sense?

20                  MR. WASHBURN:      Not really, and the reason I

21   say that, Your Honor, is the return that's being filed

22   in October of 2011 is a return -- or rather in October

23   of 2012 is a return for 2011.          I guess I'm just getting

24   wires crossed between the tax case and the bankruptcy

25   case because from our perspective what we're attempting



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 1   to do is understand what its relevance is on the

 2   bankruptcy case.       The tax case, Your Honor --

 3                  THE COURT:     Isn't the October '12 personal

 4   return for the tax year 2011?

 5                  MR. WASHBURN:      That's correct.

 6                  THE COURT:     So it's the same tax year as the

 7   Wasatch Pacific tax return.

 8                  MR. WASHBURN:      Yes, Your Honor.       And I guess

 9   I'm trying to understand how the personal expenses in

10   2012 -- you know, Your Honor, it probably isn't worth

11   the couple of weeks' difference.           I was just trying to

12   understand what the rationale was.            And I understand it

13   now, and I'm not sure that there's enough at stake for

14   it to be worth disputing over a couple of weeks.

15                  THE COURT:     I recognize and I apologize, but

16   I think the government's going to have to redo some of

17   its exhibits to break it down into these categories, but

18   hopefully that won't be much more than a reorganization

19   problem.

20                  MR. HIRATA:      Just one question of

21   clarification, Your Honor.         So based on the court's

22   ruling today, is the presumption, if you will, that the

23   end point is in October of 2012, that should either side

24   choose to go beyond that you will --

25                  THE COURT:     New issue, it's a new issue at



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 1   that point.

 2                  MR. HIRATA:      Okay.        Fair enough.

 3                  THE COURT:     I'm not precluding that, that's

 4   the guideline.      And obviously as the case develops,

 5   there may be issues that would make it relevant.

 6                  MR. HIRATA:      Okay.

 7                  THE COURT:     Anything further before we

 8   recess?

 9                  MR. HIRATA:      No, Your Honor.

10                  MR. WASHBURN:        No, Your Honor.

11                  THE COURT:     We will be in recess.

12                  (Whereupon, the matter was concluded.)

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 1                       C E R T I F I C A T E

 2

 3   State of Utah

 4   County of Salt Lake

 5

 6             I, Karen Murakami, a Certified Shorthand Reporter

 7   for the State of Utah, do hereby certify that the

 8   foregoing transcript of proceedings was taken before me

 9   at the time and place set forth herein and was taken

10   down by me in shorthand and thereafter transcribed into

11   typewriting under my direction and supervision;

12             That the foregoing pages contain a true and

13   correct transcription of my said shorthand notes so

14   taken.

15             IN WITNESS WHEREOF, I have hereunto set my hand

16   this     2nd day of November, 2017.

17

18

19                                            Karen Murakami

20                                        Karen Murakami, CSR, RPR

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